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                                       IN THE UNITED STATES BANKRUPTCY COURT
                                            FOR THE DISTRICT OF NEBRASKA

                                                                                           )
In re:                                                                                     )   Chapter 11
                                                                                           )
SPECIALTY RETAIL SHOPS HOLDING CORP., et al., 1                                            )   Case No. 19-80064 (TLS)
                                                                                           )
                                 Debtors.                                                  )   (Jointly Administered)
                                                                                           )

                             THIRD AMENDED JOINT CHAPTER 11 PLAN OF
                  SPECIALTY RETAIL SHOPS HOLDING CORP. AND ITS DEBTOR AFFILIATES


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  Dated: May 31, 2019




  1      The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification number, are: Specialty
         Retail Shops Holding Corp. (0029); Pamida Stores Operating Co., LLC (6157); Pamida Transportation LLC (4219); Penn-Daniels, LLC
         (0040); Place’s Associates’ Expansion, LLC (7526); Retained R/E SPE, LLC (6679); Shopko Finance, LLC (1152); Shopko Gift Card Co.,
         LLC (2161); Shopko Holding Company, LLC (0171); Shopko Institutional Care Services Co., LLC (7112); Shopko Optical Manufacturing,
         LLC (6346); Shopko Properties, LLC (0865); Shopko Stores Operating Co., LLC (6109); SVS Trucking, LLC (0592). The location of the
         Debtors’ service address is: 700 Pilgrim Way, Green Bay, Wisconsin 54304.
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                                                  INTRODUCTION

           Capitalized terms used in this chapter 11 plan shall have the meanings set forth in Article I.A. The Debtors
 propose this Plan for the resolution of outstanding Claims against, and Interests in, the Debtors. Holders of Claims
 and Interests may refer to the Disclosure Statement for a discussion of the Debtors’ history, businesses, assets,
 results of operations, historical financial information, and projections of future operations, as well as a summary and
 description of the Plan. The Debtors are the proponents of the Plan within the meaning of section 1129 of the
 Bankruptcy Code, and the Plan constitutes a separate plan for each of the Debtors.

       ALL HOLDERS OF CLAIMS AND INTERESTS, TO THE EXTENT APPLICABLE, ARE
 ENCOURAGED TO READ THE PLAN AND THE DISCLOSURE STATEMENT IN THEIR ENTIRETY
 BEFORE VOTING TO ACCEPT OR REJECT THE PLAN.

                                            ARTICLE I.
                             DEFINED TERMS, RULES OF INTERPRETATION,
                             COMPUTATION OF TIME, AND GOVERNING LAW

 A.       Defined Terms

          As used in this Plan, capitalized terms have the meanings set forth below.

          1.        “Administrative Claim” means a Claim for costs and expenses of administration of the Debtors’
 Estates pursuant to sections 503(b), 507(a)(2), 507(b), or 1114(e)(2) of the Bankruptcy Code, including: (a) the
 actual and necessary costs and expenses incurred after the Petition Date and through the Effective Date of preserving
 the Estates and operating the businesses of the Debtors; (b) Allowed Professional Fee Claims; (c) all Allowed
 requests for compensation or expense reimbursement for making a substantial contribution in the Chapter 11 Cases
 pursuant to sections 503(b)(3), (4), and (5) of the Bankruptcy Code; and (d) all DIP Claims.

          2.       “Administrative Claims Bar Date” means the deadline for Filing requests for payment of
 Administrative Claims, except as otherwise set forth in the Plan or a Final Order, which: (a) with respect to
 Administrative Claims other than Professional Fee Claims, shall be 30 days after the Effective Date; and (b) with
 respect to Professional Fee Claims, shall be 45 days after the Effective Date; provided that Filing requests for
 payment of Administrative Claims is not required, where the Plan, Bankruptcy Code, or a Final Order does not
 require such Filing.

          3.       “Administrative Claims Reserve” means the account to be established by the Reorganized Debtors
 with the Administrative Claims Reserve Amount to fund distributions to Holders of Allowed Administrative Claims
 pursuant to Article VIII.E.

          4.       “Administrative Claims Reserve Amount” means an amount equal to the lesser of (a) the total
 amount of Allowed Administrative Claims and Disputed Administrative Claims estimated by the Debtors (in
 consultation with the Creditors’ Committee and subject to the Creditors’ Committee’s consent (not to be
 unreasonably withheld)) to become Allowed Administrative Claims, and (b) the Distribution Proceeds, to the extent
 known on the Effective Date, to be allocated and paid to the Holders of Allowed Administrative Claims and
 Disputed Administrative Claims estimated by the Debtors (in consultation with the Creditors’ Committee and
 subject to the Creditors’ Committee’s consent (not to be unreasonably withheld)) to become Allowed Administrative
 Claims.

          5.       “Affiliate” shall have the meaning set forth in section 101(2) of the Bankruptcy Code.

          6.       “ASO Agreement” means the Administrative Services Only Agreement, effective January 1, 2017,
 including all cover agreements, amendments, disclosures, appendices, schedules, benefit booklets and rate
 information related thereto through which Cigna Health and Life Insurance Company processes healthcare claims of
 the Debtors’ employees for the Debtors’ self insured employee healthcare benefits plan.
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         7.       “Asset Purchase Agreement” means one or more asset purchase agreements pursuant to which the
 Asset Sales are consummated, in each case in form and substance reasonably acceptable to Credit Agreement
 Primary Agent.

          8.       “Asset Sales” means the sale or sales of all, substantially all, or certain of the Debtors’ assets under
 this Plan pursuant to an Asset Purchase Agreement or as otherwise authorized by order of the Bankruptcy Court or
 the Bankruptcy Code in each case with the consent of the Credit Agreement Primary Agent (such consent not to be
 unreasonably withheld).

          9.       “Asset Sale Restructuring” means a restructuring under this Plan providing for the Asset Sales.

           10.      “Allowed” means, with respect to any Claim, except as otherwise provided herein: (a) a Claim
 that is evidenced by a Proof of Claim timely Filed by the Bar Date (or for which Claim under the Plan, the
 Bankruptcy Code, or a Final Order of the Bankruptcy Court a Proof of Claim is not or shall not be required to be
 Filed); (b) a Claim that is listed in the Schedules as not contingent, not unliquidated, and not disputed, and for which
 no Proof of Claim has been timely filed; or (c) a Claim Allowed pursuant to the Plan, any stipulation approved by
 the Bankruptcy Court, any contract, instrument, indenture, or other agreement entered into or assumed in connection
 with the Plan, or a Final Order of the Bankruptcy Court; provided that, with respect to a Claim described in clauses
 (a) and (b) above, such Claim shall be considered Allowed only if and to the extent that with respect to such Claim
 no objection to the allowance thereof has been interposed within the applicable period of time fixed by the Plan, the
 Bankruptcy Code, the Bankruptcy Rules, or the Bankruptcy Court, or if such an objection is so interposed, such
 Claim shall have been Allowed by a Final Order. Any Claim that has been or is hereafter listed in the Schedules as
 contingent, unliquidated, or disputed, and for which no Proof of Claim or Interest is or has been timely Filed, is not
 considered Allowed and shall be expunged without further action by the Debtors and without further notice to any
 party or action, approval, or order of the Bankruptcy Court. Notwithstanding anything to the contrary herein, (I) no
 Claim of any Entity subject to section 502(d) of the Bankruptcy Code shall be deemed Allowed unless and until
 such Entity pays in full the amount that it owes and (II) the Revolving Loan A Lenders, Revolving Loan A-1
 Lenders, Term Loan B Lenders, and Term Loan B-1 Lender(s) shall not be required to file a Proof of Claim. A
 Proof of Claim Filed after the Bar Date shall not be Allowed for any purposes whatsoever absent entry of a Final
 Order allowing such late-Filed Claim. “Allow” and “Allowing” shall have correlative meanings.

           11.     “Avoidance Actions” means any and all avoidance, recovery, subordination, or other claims,
 actions, or remedies which any of the Debtors, the debtors in possession, the Estates, or other appropriate parties in
 interest have asserted or may assert under sections 502, 510, 542, 544, 545, or 547 through 553 of the Bankruptcy
 Code or under similar or related state or federal statutes and common law.

         12.       “Bankruptcy Code” means title 11 of the United States Code, 11 U.S.C. §§ 101–1532, as amended
 from time to time, as applicable to the Chapter 11 Cases.

         13.       “Bankruptcy Court” means the United States Bankruptcy Court for the District of Nebraska
 having jurisdiction over the Chapter 11 Cases, and, to the extent of the withdrawal of reference under 28 U.S.C.
 § 157 and/or the General Order of the District Court pursuant to section 151 of title 28 of the United States Code, the
 United States District Court for the District of Nebraska.

         14.      “Bankruptcy Rules” means the Federal Rules of Bankruptcy Procedure, as applicable to the
 Chapter 11 Cases, promulgated under section 2075 of the Judicial Code and the general, local, and chambers rules of
 the Bankruptcy Court, each as amended from time to time.

          15.     “Bar Date” means the dates established by the Bankruptcy Court by which Proofs of Claim must
 be Filed; provided that the Claims of the Revolving Loan A Lenders, Revolving Loan A-1 Lenders, Term Loan B
 Lenders, and Term Loan B-1 Lender(s) shall not be subject to the Bar Date

         16.      “Business Day” means any day, other than a Saturday, Sunday, or “legal holiday” (as defined in
 Bankruptcy Rule 9006(a)).




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           17.     “Cash” means the legal tender of the United States of America or the equivalent thereof.

          18.      “Cash Consideration” means any proceeds paid or payable in Cash by buyers to the Debtors in
 connection with the Asset Sales; provided, however, that Cash Consideration includes any Cash or Cash equivalents
 returned (whether before or after the Effective Date) to the Debtors or their Estates, including (a) the return of any
 deposits of Cash or Cash equivalents and (b) the release of Cash or Cash equivalents used to collateralize any of the
 Debtors’ surety bonds, insurance policies, or utility contracts.

           19.      “Causes of Action” means any claims, damages, remedies, causes of action, demands, rights,
 actions, suits, obligations, liabilities, accounts, defenses, offsets, powers, privileges, licenses, and franchises of any
 kind or character whatsoever, whether known or unknown, foreseen or unforeseen, existing or hereinafter arising,
 contingent or non-contingent, matured or unmatured, suspected or unsuspected, in tort, law, equity, or otherwise.
 Causes of Action also include: (a) all rights of setoff, counterclaim, or recoupment and claims on contracts or for
 breaches of duties imposed by law; (b) the right to object to or otherwise contest Claims or Interests; (c) claims
 pursuant to sections 362, 510, 542, 543, 544 through 550, or 553 of the Bankruptcy Code; and (d) such claims and
 defenses as fraud, mistake, duress, and usury and any other defenses set forth in section 558 of the Bankruptcy
 Code.

          20.      “Chapter 11 Cases” means, when used with reference to a particular Debtor, the case pending for
 that Debtor under chapter 11 of the Bankruptcy Code in the Bankruptcy Court, and when used with reference to all
 of the Debtors, the procedurally consolidated and jointly administered chapter 11 cases pending for the Debtors in
 the Bankruptcy Court.

           21.     “Claim” means a claim, as defined in section 101(5) of the Bankruptcy Code, asserted against a
 Debtor.

          22.       “Claims Objection Bar Date” means the deadline for objecting to a Claim, which shall be on the
 date that is the later of (a) 180 days after the Effective Date and (b) such other period of limitation as may be
 specifically fixed by the Debtors or the Reorganized Debtors, as applicable, or by an order of the Bankruptcy Court
 for objecting to Claims.

         23.      “Claims Register” means the official register of Claims maintained by the Notice and Claims
 Agent or the Bankruptcy Court.

           24.     “Class” means a category of Claims or Interests under section 1122(a) of the Bankruptcy Code.

          25.      “Confirmation” means the entry of the Confirmation Order on the docket of the Chapter 11 Cases,
 subject to the conditions set forth in the Plan.

         26.     “Confirmation Date” means the date upon which the Bankruptcy Court enters the
 Confirmation Order on the docket of the Chapter 11 Cases, within the meaning of Bankruptcy Rules 5003 and 9021.

        27.       “Confirmation Hearing” means the hearing held by the Bankruptcy Court, if any, to consider
 Confirmation of the Plan pursuant to section 1129 of the Bankruptcy Code.

          28.      “Confirmation Order” means an order of the Bankruptcy Court confirming the Plan pursuant to
 section 1129 of the Bankruptcy Code.

           29.     “Consummation” means the occurrence of the Effective Date.

          30.       “Credit Agreement” means that certain Third Amended and Restated Loan and Security
 Agreement, dated as of February 7, 2012 (as amended, restated, supplemented, or otherwise modified from time to
 time), by and among Shopko, as borrower, and certain of its subsidiaries as borrowers or guarantors, certain lenders
 party thereto, the Credit Agreement Primary Agent, and the Term Loan B-1 Agent.




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         31.      “Credit Agreement Primary Agent” means Wells Fargo Bank, N.A., in each of its capacities as
 Agent, Collateral Agent, and Term Loan B Agent (as each term is defined in the Credit Agreement), under the
 Credit Agreement.

         32.      “Creditors’ Committee” means the official committee of unsecured creditors appointed in the
 Chapter 11 Cases pursuant to section 1102(a) of the Bankruptcy Code.

          33.    “Cure Claim” means a monetary Claim based upon a Debtor’s defaults under any Executory
 Contract or Unexpired Lease at the time such contract or lease is assumed by such Debtor pursuant to section 365 of
 the Bankruptcy Code.

          34.       “Cure Notice” means a notice of a proposed amount to be paid on account of a Cure Claim in
 connection with an Executory Contract or Unexpired Lease to be assumed under the Plan pursuant to section 365 of
 the Bankruptcy Code, which notice shall include: (a) procedures for objecting to proposed assumptions of
 Executory Contracts and Unexpired Leases; (b) Cure Claims to be paid in connection therewith; and (c) procedures
 for resolution by the Bankruptcy Court of any related disputes.

         35.      “Cure/Assumption Objection Deadline” means the date that is 14 days after filing of the Schedule
 of Assumed Executory Contracts and Unexpired Leases with the Plan Supplement and service of the Cure Notice;
 provided that if any Executory Contract or Unexpired Lease is added to the Schedule of Assumed Executory
 Contracts and Unexpired Leases after the filing of the initial Schedule of Assumed Executory Contracts and
 Unexpired Leases, or an Executory Contract or Unexpired Lease proposed to be assumed by the Debtors or
 Reorganized Debtors is proposed to be assigned to a third party after the filing of the initial Schedule of Assumed
 Executory Contracts and Unexpired Leases, then the Cure/Assumption Objection Deadline with respect to such
 Executory Contract or Unexpired Lease shall be the earlier of (a) 14 days after service of the amended Schedule of
 Assumed Executory Contracts and Unexpired Leases with such modification and (b) the date of the scheduled
 Confirmation Hearing.

          36.     “D&O Liability Insurance Policies” means all insurance policies (including any “tail policy”) of
 any of the Debtors for liability of any current or former directors, managers, officers, and members.

           37.     “Debtors” means, collectively, each of the following (the debtors and debtors in possession in the
 Chapter 11 Cases): (a) Specialty Retail Shops Holding Corp.; (b) Pamida Stores Operating Co., LLC; (c) Pamida
 Transportation LLC; (d) Penn-Daniels, LLC; (e) Place’s Associates’ Expansion, LLC; (f) Retained R/E SPE, LLC;
 (g) Shopko Finance, LLC; (h) Shopko Gift Card Co., LLC; (i) Shopko Holding Company, LLC; (j) Shopko
 Institutional Care Services Co., LLC; (k) Shopko Optical Manufacturing, LLC; (l) Shopko Properties, LLC;
 (m) Shopko Stores Operating Co., LLC; and (n) SVS Trucking, LLC.

           38.     “DIP Agreement” means the Credit Agreement, as amended and modified by that certain
 Ratification and Amendment Agreement, dated as of January 16, 2019, by and among the Debtors and the DIP
 Lenders, as it may be amended, restated, supplemented, or otherwise modified from time to time.

          39.     “DIP Claim” means any Claim in favor of any DIP Lender against any of the Debtors arising
 under the Financing Agreements or the Financing Orders on or after the Petition Date, including Claims for all
 principal amounts outstanding, interest, fees, expenses, costs, and other charges and all other Obligations (as defined
 in the DIP Agreement) arising under the DIP Agreement as well as the adequate protection claims granted by any of
 the Financing Orders.

         40.       “DIP ABL Lenders” means, collectively, the Revolving Loan A Lenders and Revolving Loan A-1
 Lenders (as each is defined in the DIP Agreement) from time to time party to the DIP Agreement.

          41.      “DIP Lenders” means, collectively, the lenders from time to time party to the DIP Agreement.

          42.     “Disallowed” means, with respect to any Claim, a Claim or any portion thereof that: (a) has been
 disallowed by a Final Order; (b) is listed in the Schedules as zero or as contingent, disputed, or unliquidated and as



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 to which no Proof of Claim or request for payment of an Administrative Claim has been timely Filed or deemed
 timely Filed with the Bankruptcy Court pursuant to either the Bankruptcy Code or any Final Order of the
 Bankruptcy Court or otherwise deemed timely Filed under applicable law or the Plan; (c) is not listed in the
 Schedules and as to which no Proof of Claim or request for payment of an Administrative Claim has been timely
 Filed or deemed timely Filed with the Bankruptcy Court pursuant to either the Bankruptcy Code or any Final Order
 of the Bankruptcy Court or otherwise deemed timely Filed under applicable law or the Plan; (d) has been withdrawn
 by agreement of the applicable Debtor and the Holder thereof; or (e) has been withdrawn by the Holder thereof.

          43.       “Disbursing Agent” means the Debtors, the Reorganized Debtors, or the Plan Administrator, as
 applicable, or the Entity or Entities selected by the Debtors, the Reorganized Debtors, or the Plan Administrator to
 make or facilitate distributions contemplated under the Plan.

         44.        “Disclosure Statement” means the disclosure statement for the Plan, including all exhibits and
 schedules thereto.

          45.      “Disputed” means a Claim that is not yet Allowed.

          46.      “Distribution Proceeds” means all Cash of the Debtors available on the Effective Date, after
 funding the Professional Fee Escrow Account, and thereafter all Cash of the Debtors from all sources including
 without limitation the Settlement Amount, the revenues and proceeds of all assets of the Debtors and proceeds from
 all Causes of Action, available for use and distribution in accordance with the priorities set forth under Article
 VIII.H hereof.

          47.      “Distribution Record Date” means the date for determining which Holders of Allowed Claims or
 Allowed Interests are eligible to receive distributions hereunder, which shall be the later of (a) thirty-days after the
 Effective Date or (b) such other date as designated in a Final Order of the Bankruptcy Court.

         48.     “Distribution Reserve Accounts” means the Administrative Claims Reserve, the Priority Claims
 Reserve, the Undeliverable Distribution Reserve, the Wind-Down Reserve, the Other Secured Claims Reserve, and
 the GUC Asset Sale Reserve established pursuant to this Plan.

          49.      “DTC” means the Depository Trust Company.

           50.      “Effective Date” means, with respect to the Plan, the date that is a Business Day selected by the
 Debtors, subject to the consent of the Credit Agreement Primary Agent (not to be unreasonably withheld), on which:
 (a) no stay of the Confirmation Order is in effect; (b) all conditions precedent specified in Article XI.A hereof have
 been satisfied or waived (in accordance with Article XI.B); and (c) the Plan is declared effective.

          51.      “Entity” shall have the meaning set forth in section 101(15) of the Bankruptcy Code.

          52.      “Estate” means, as to each Debtor, the estate created for the Debtor in its Chapter 11 Case
 pursuant to section 541 of the Bankruptcy Code.

          53.       “Exculpated Parties” means, collectively, and in each case in its capacity as such: (a) the Debtors
 and Reorganized Debtors; (b) the Credit Agreement Primary Agent; (c) the Creditors’ Committee and its respective
 members; (d) Sun Capital; and (e) with respect to each of the foregoing Entities described in clauses (a) and (b),
 such Entities' respective predecessors, successors and assigns, and current and former stockholders, members,
 limited partners, general partners, equity holders, Affiliates and its and their subsidiaries, principals, partners,
 parents, equity holders, members, employees, agents, officers, directors, managers, trustees, professionals,
 representatives, advisors, attorneys, financial advisors, accountants, investment bankers, and consultants.

          54.     “Executory Contract” means a contract to which one or more of the Debtors is a party that is
 subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.




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        55.     “Federal Judgment Rate” means the federal judgment rate in effect as of the Petition Date,
 compounded annually.

          56.      “File,” “Filed,” or “Filing” means file, filed, or filing in the Chapter 11 Cases with the Bankruptcy
 Court or, with respect to the filing of a Proof of Claim or proof of Interest, the Notice and Claims Agent.

           57.     “Final Order” means: (a) an order or judgment of the Bankruptcy Court, as entered on the docket
 in any Chapter 11 Case (or any related adversary proceeding or contested matter) or the docket of any other court of
 competent jurisdiction; or (b) an order or judgment of any other court having jurisdiction over any appeal from (or
 petition seeking certiorari or other review of) any order or judgment entered by the Bankruptcy Court (or any other
 court of competent jurisdiction, including in an appeal taken) in the Chapter 11 Case (or in any related adversary
 proceeding or contested matter), in each case that has not been reversed, stayed, modified, or amended, and as to
 which the time to appeal, or seek certiorari or move for a new trial, reargument, or rehearing has expired according
 to applicable law and no appeal or petition for certiorari or other proceedings for a new trial, reargument, or
 rehearing has been timely taken, or as to which any appeal that has been taken or any petition for certiorari that has
 been or may be timely Filed has been withdrawn or resolved by the highest court to which the order or judgment
 was appealed or from which certiorari was sought or the new trial, reargument, or rehearing shall have been denied,
 resulted in no modification of such order, or has otherwise been dismissed with prejudice; provided that the
 possibility a motion under Rule 60 of the Federal Rules of Civil Procedure, or any analogous rule under the
 Bankruptcy Rules or the Local Bankruptcy Rules of the Bankruptcy Court, may be filed relating to such order shall
 not prevent such order from being a Final Order.

          58.      “Financing Orders” means, collectively, the interim and final orders entered by the Bankruptcy
 Court authorizing the Debtors to use cash collateral and enter into the DIP Agreement and incur postpetition
 obligations thereunder.

          59.      “General Account” means a general account maintained at an institution acceptable to Wells Fargo
 Bank, N.A.: (a) into which shall be deposited revenues and proceeds of all assets of the Debtors, including proceeds
 of the Asset Sales, and Cash of the Debtors in an amount in excess of the amount required to fund and adequately
 maintain the Distribution Reserve Accounts as described in Articles VIII.H and VIII.I. (provided that the General
 Account shall not include funds required to be deposited into the Distribution Reserve Accounts); (b) from which
 shall be made payments to any Distribution Reserve Account (other than GUC Asset Sale Reserve) in an amount
 sufficient to adequately maintain such Distribution Reserve Account as described in Article VIII.I.; and (c) from
 which payments shall be made according to the priority set forth in Article VIII.H

         60.     “General Unsecured Claim” means any Claim other than: (a) an Administrative Claim; (b) a
 Secured Tax Claim; (c) an Other Secured Claim; (d) a Priority Tax Claim; (e) an Other Priority Claim; (f) a Term
 Loan Secured Claim; (g) an Intercompany Claim; (h) a DIP Claim; or (i) a Section 510(b) Claim; provided that
 General Unsecured Claims shall include Credit Agreement Deficiency Claims, if any.

          61.      “Governmental Unit” shall have the meaning set forth in section 101(27) of the Bankruptcy Code.

          62.     “GUC Asset Sale Reserve” means a separate, segregated account to be established and maintained
 by the Plan Administrator at an institution acceptable to Wells Fargo Bank, N.A. and funded with the Distribution
 Proceeds pursuant to Article VIII.G. hereof.

          63.      “Holder” means an Entity holding a Claim or Interest, as applicable.

           64.     “Impaired” means, with respect to a Class of Claims or Interests, a Class of Claims or Interests
 that is impaired within the meaning of section 1124 of the Bankruptcy Code.

          65.      “Indenture Trustee” means Delaware Trust Company, solely in its capacity as indenture trustee
 under the that certain Indenture, dated as of March 12, 1992 (as amended, modified, or supplemented from time to
 time) between Shopko Stores, Inc., as successor issuer, and Delaware Trust Company.




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          66.       “Indenture Trustee Fees” means the compensation, fees, expenses, disbursements, and indemnity
 claims of the Indenture Trustee, including any fees, expenses, and disbursements of attorneys, advisors, or agents
 retained or utilized by the Indenture Trustee.

          67.      “Intercompany Claim” means any Claim held by a Debtor or a Debtor’s Affiliate against a Debtor
 or a Debtor’s Affiliate.

          68.     “Intercompany Interest” means, other than an Interest in Shopko, an Interest in one Debtor held by
 another Debtor or a Debtor’s Affiliate.

         69.      “Interest” means any equity security (as defined in section 101(16) of the Bankruptcy Code) in
 any Debtor.

           70.    “Interim Compensation Order” means the order of the Bankruptcy Court establishing procedures
 for interim compensation and reimbursement of expenses for professionals.

           71.      “Judicial Code” means title 28 of the United States Code, 28 U.S.C. §§ 1–4001, as amended from
 time to time, as applicable to the Chapter 11 Cases.

         72.      “Lien” shall have the meaning set forth in section 101(37) of the Bankruptcy Code.

         73.      “Notice and Claims Agent” means Prime Clerk LLC.

          74.      “Other Priority Claim” means any Claim entitled to priority in right of payment under section
 507(a) of the Bankruptcy Code, other than: (a) an Administrative Claim; or (b) a Priority Tax Claim, to the extent
 such Claim has not already been paid during the Chapter 11 Cases.

        75.       “Other Secured Claim” means any Secured Claim other than Claims arising under the Credit
 Agreement.

        76.       “Other Secured Claims Reserve” means the account to be established and maintained by the
 Plan Administrator and funded with the Other Secured Claims Reserve Amount pursuant to Article VIII.D.

           77.      “Other Secured Claims Reserve Amount” means Cash in an amount to be determined by the
 Debtors, which amount shall be funded by the Debtors and used by the Plan Administrator for the payment of
 Allowed Other Secured Claims to the extent that such Other Secured Claims have not been satisfied pursuant to
 Article III.B.2 on or before the Effective Date.

         78.      “Person” shall have the meaning set forth in section 101(41) of the Bankruptcy Code.

         79.      “Petition Date” means the date on which the Debtors commenced the Chapter 11 Cases.

           80.     “Plan” means this plan, as it may be amended or supplemented from time to time, including all
 exhibits, schedules, supplements, appendices, annexes, and attachments thereto.

           81.        “Plan Administrator” means the person selected by the Creditors’ Committee and reasonably
 acceptable to the Debtors and the Credit Agreement Primary Agent to administer the Plan Administrator Assets. All
 costs, liabilities, and expenses reasonably incurred by the Plan Administrator, and any personnel employed by the
 Plan Administrator in the performance of the Plan Administrator’s duties, shall be paid from the Plan Administrator
 Assets, subject to and in accordance with the Wind-Down Budget.

         82.     “Plan Administrator Assets” means on the Effective Date, all assets of the Estates vested in the
 Reorganized Debtors to be administered by Plan Administrator, and, thereafter, all assets held from time to time by
 Reorganized Debtors to be administered by Plan Administrator.




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           83.      “Plan Supplement” means the compilation of documents and forms of documents, schedules, and
 exhibits to the Plan, to be Filed by the Debtors no later than 14 days before the Confirmation Hearing or such later
 date as may be approved by the Bankruptcy Court on notice to parties in interest, and additional documents Filed
 with the Bankruptcy Court before the Effective Date as amendments to the Plan Supplement. The Plan Supplement
 shall include the following: (a) Schedule of Assumed Executory Contracts and Unexpired Leases; (b) a list of
 retained Causes of Action; (e) Asset Purchase Agreement, if any; (f) the identity of the Plan Administrator and the
 compensation of the Plan Administrator, if any; (c) the Wind-Down Budget, (d) the Wind-Down Milestones; and (e)
 any and all other documentation necessary to effectuate the Restructuring Transactions or that is contemplated by
 the Plan. The Debtors shall have the right to amend the documents contained in, and exhibits to, the Plan
 Supplement through the Effective Date in accordance with Article XII of the Plan; provided that the Debtors shall
 not amend the Schedule of Assumed Executory Contracts and Unexpired Leases or Schedule of Rejected Executory
 Contracts and Unexpired Leases after seven days prior to the Confirmation Hearing.

          84.     “Prepetition ABL Claim” means any Claim derived from or based upon the Prepetition ABL
 Loans.

         85.     “Prepetition ABL Lenders” means, collectively, the lenders providing Revolving Loan A and
 Revolving Loan A-1 loans and commitments prior to the Petition Date pursuant to the Credit Agreement.

         86.      “Prepetition ABL Loans” means, collectively, the Revolving Loan A and Revolving Loan A-1
 provided by Prepetition ABL Lenders to Debtors prior to the Petition Date.

          87.     “Priority Claims” means, collectively, Priority Tax Claims and Other Priority Claims.

           88.      “Priority Claims Reserve” means the account to be established by the Reorganized Debtors at an
 institution acceptable to Wells Fargo Bank, N.A. with the Priority Claims Reserve Amount to fund distributions to
 Holders of Allowed Priority Claims (excluding Professional Fee Claims and DIP Claims) pursuant to Article VIII.F.

           89.     “Priority Claims Reserve Amount” means an amount equal to the lesser of (a) an amount equal to
 the total amount of Allowed Priority Claims, and Disputed Priority Claims estimated by the Debtors (in consultation
 with the Creditors’ Committee and subject to the Creditors’ Committee’s consent (not to be unreasonably withheld))
 to become Allowed Priority Claims, and (b) the Distribution Proceeds, to the extent known on the Effective Date, to
 be allocated and paid to the Holders of Allowed Priority Claims and Disputed Priority Claims estimated by the
 Debtors (in consultation with the Creditors’ Committee and subject to the Creditors’ Committee’s consent (not to be
 unreasonably withheld)) to become Allowed Priority Claims, according to the priority set forth in Article VIII.F.

          90.      “Priority Tax Claim” means any Claim of a Governmental Unit of the kind specified in
 section 507(a)(8) of the Bankruptcy Code.

          91.     “Pro Rata” means the proportion that an Allowed Claim in a particular Class bears to the
 aggregate amount of Allowed Claims in that Class, or the proportion that Allowed Claims in a particular Class bear
 to the aggregate amount of Allowed Claims in a particular Class and other Classes entitled to share in the same
 recovery as such Allowed Claim under the Plan.

          92.     “Professional” means an Entity employed pursuant to a Bankruptcy Court order in accordance
 with sections 327 or 1103 of the Bankruptcy Code and to be compensated for services rendered before or on the
 Confirmation Date, pursuant to sections 327, 328, 329, 330, or 331 of the Bankruptcy Code.

          93.      “Professional Fee Claims” means all Administrative Claims for the compensation of Professionals
 and the reimbursement of expenses incurred by such Professionals through and including the Confirmation Date to
 the extent such fees and expenses have not been previously paid.

          94.     “Professional Fee Escrow Account” means an interest-bearing account funded by the Reorganized
 Debtors in an amount equal to the total Professional Fee Reserve Amount on the Effective Date.




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          95.      “Professional Fee Reserve Amount” means the aggregate amount of Professional Fee Claims that
 the Professionals estimate they have incurred or will incur in rendering services to the Estates prior to and as of the
 Effective Date, which estimates Professionals shall deliver to the Debtors as set forth in Article II.B.3 of this Plan.

          96.      “Proof of Claim” means a proof of Claim Filed in the Chapter 11 Cases.

           97.      “Purchaser” means the purchaser under the Asset Purchase Agreement, together with its
 successors and permitted assigns (including any and all of its wholly-owned Affiliates to which it assigns any of its
 rights or obligations under the Asset Purchase Agreement).

           98.       “Reinstated” or “Reinstatement” means, with respect to Claims and Interests, that the Claim or
 Interest shall be rendered Unimpaired in accordance with section 1124 of the Bankruptcy Code.

           99.      “Released Party” means each of the following in their capacity as such: (a) the Debtors and
 Reorganized Debtors; (b) the Debtors’ current and former officers, directors, and managers; (c) the Credit
 Agreement Primary Agent; (d) the DIP Lenders; (e) the Term Loan B-1 Agent and Term Loan Lenders; (f) the
 Settlement Parties; and (g) each of the foregoing Entities’ respective predecessors, successors and assigns, and
 current and former stockholders, members, limited partners, general partners, equity holders, Affiliates and its and
 their subsidiaries, principals, partners, parents, equity holders, members, employees, agents, officers, directors,
 managers, trustees, professionals, representatives, advisors, attorneys, financial advisors, accountants, investment
 bankers, and consultants, in each case solely in their capacity as such; provided that any Holder of a Claim or
 Interest that elects to “opt out” of granting releases by timely objecting to the Plan’s third-party release provisions
 shall not be a “Released Party.”

           100.     “Releasing Party” means, collectively, and in each case solely in its capacity as such: (a) the
 Debtors, the Debtors’ Estates, and the Reorganized Debtors; (b) the Credit Agreement Primary Agent; (c) the DIP
 Lenders; (d) the Term Loan B-1 Agent and Term Loan Lenders; (e) each Holder of a Claim or Interest entitled to
 vote to accept or reject the Plan that (i) votes to accept the Plan or (ii) votes to reject the Plan or does not vote to
 accept or reject the Plan but does not affirmatively elect to “opt out” of being a Releasing Party by timely objecting
 to the Plan’s third-party release provisions; (f) each Holder of a Claim or Interest that is Unimpaired and presumed
 to accept the Plan; (g) each Holder of a Claim or Interest that is deemed to reject the Plan that does not affirmatively
 elect to “opt out” of being a Releasing Party by timely objecting to the Plan’s third-party release provisions; (h) with
 respect to the Settlement and releases of Sun Capital contained in Article X.A, all Holders of Claims and Interests
 other than those noted in the Confirmation Order that affirmatively elected to “opt out” of being a Releasing Party
 with respect to Sun Capital by timely objecting to the Settlement’s third-party release provisions; and (i) with
 respect each of the foregoing Entities described in clauses (a) through (h), such Entities’ current and former
 affiliates, and such Entities’ and such affiliates’ partners, subsidiaries, predecessors, current and former directors,
 managers, officers, equity holders (regardless of whether such interests are held directly or indirectly), members,
 principals, employees, agents, managed accounts or funds, advisors, attorneys, accountants, investment bankers,
 consultants, representatives, management companies, fund advisors, and other professionals, together with their
 respective successors and assigns.

         101.      “Reorganized Debtors” means the Debtors, or any successor thereto, by merger, consolidation, or
 otherwise, on or after the Effective Date, including Reorganized Shopko.

          102.     “Reorganized Shopko” means either: (a) Shopko, or any successor thereto, as reorganized
 pursuant to and under the Plan; or (b) a new corporation or limited liability company designated by the Debtors to,
 among other things, directly or indirectly acquire substantially all of the assets and/or stock of the Debtors and issue
 the New Shopko Interests to be distributed or sold pursuant to the Plan, or any other successor to the forgoing,
 including the Purchaser.

          103.     “Reorganized Shopko Board” means the New Board of Reorganized Shopko on and after the
 Effective Date.

          104.     “Restructuring” means the restructuring of the Debtors on the terms of the Plan.



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         105.     “Restructuring Documents” means the Plan, the Disclosure Statement, the Plan Supplement, and
 the various agreements and other documents formalizing or implementing the Plan and the transactions
 contemplated thereunder.

          106.      “Restructuring Transactions” means those mergers, amalgamations, consolidations, arrangements,
 continuances, restructurings, transfers, conversions, dispositions, liquidations, dissolutions, or other corporate
 transactions that the Debtors reasonably determine to be necessary to implement the Restructuring, as described in
 more detail in Article IV.B herein.

          107.     “Retained Causes of Action List” means a list of all retained Claims and Causes of Action of the
 Debtors, identified in the Plan Supplement.

         108.    “Revolving Loan A” means the total Revolving Loans A made pursuant to (and as defined in) the
 Credit Agreement, made by or on behalf of certain lenders for the ratable accounts of such lenders, pursuant to the
 Credit Agreement.

          109.    “Revolving Loan A Lenders” means, collectively, the lenders providing loans and commitments
 under the Revolving Loan A.

          110.    “Revolving Loan A-1” means the total Revolving Loans A-1 made pursuant to (and as defined in)
 the Credit Agreement, made by or on behalf of certain lenders for the ratable accounts of such lenders, pursuant to
 the Credit Agreement.

          111.    “Revolving Loan A-1 Lenders” means, collectively, the lenders providing loans and commitments
 under the Revolving Loan A-1.

         112.     “Run-Out Claims” means the employee healthcare claims that were incurred, but not submitted,
 processed and paid under the ASO Agreement prior to the rejection date of the ASO Agreement, if any.

           113.    “Schedule of Assumed Executory Contracts and Unexpired Leases” means the schedule (including
 any amendments or modifications thereto), if any, of the Executory Contracts and Unexpired Leases to be assumed
 or assumed and assigned by the Debtors or the Reorganized Debtors, as applicable, pursuant to the Plan, as set forth
 in the Plan Supplement, as amended by the Debtors from time to time in accordance with the Plan, which shall be in
 form and substance acceptable to the Debtors.

          114.    “Schedule of Rejected Executory Contracts and Unexpired Leases” means the schedule (including
 any amendments or modifications thereto), if any, of the Executory Contracts and Unexpired Leases to be rejected
 by the Debtors pursuant to the Plan, as set forth in the Plan Supplement, as amended by the Debtors from time to
 time in accordance with the Plan, which shall be in form and substance acceptable to the Debtors.

         115.    “Schedules” means, collectively, the schedules of assets and liabilities, schedules of Executory
 Contracts and Unexpired Leases, and statements of financial affairs Filed by the Debtors pursuant to section 521 of
 the Bankruptcy Code and in substantial accordance with the Official Bankruptcy Forms, as the same may have been
 amended, modified, or supplemented from time to time.

         116.    “Section 510(b) Claim” means any Claim subject to subordination under section 510(b) of the
 Bankruptcy Code.

          117.      “Secured” means, when referring to a Claim: (a) secured by a Lien on property in which any of
 the Debtors has an interest, which Lien is valid, perfected, and enforceable pursuant to applicable law or by reason
 of a Bankruptcy Court order, or that is subject to setoff pursuant to section 553 of the Bankruptcy Code, to the extent
 of the value of the applicable Holder’s interest in the applicable Debtor’s interest in such property or to the extent of
 the amount subject to setoff, as applicable, as determined pursuant to section 506(a) of the Bankruptcy Code; or
 (b) Allowed pursuant to the Plan, or separate order of the Bankruptcy Court, as a secured claim, in each case subject
 to the consent of the Credit Agreement Primary Agent.



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           118.     “Secured Tax Claim” means any Secured Claim against any of the Debtors that, absent its secured
 status, would be entitled to priority in right of payment under section 507(a)(8) of the Bankruptcy Code (determined
 irrespective of time limitations), including any related Secured Claim for penalties.

          119.     “Securities Act” means the Securities Act of 1933, 15 U.S.C. §§ 77a–77aa, together with the rules
 and regulations promulgated thereunder, as amended from time to time.

        120.       “Securities Exchange Act” means the Securities Exchange Act of 1934, 15 U.S.C. §§ 78a–78nn, as
 amended.

          121.     “Security” means a security as defined in section 2(a)(1) of the Securities Act.

           122.     “Settled Claims” means all Claims and Causes of Action made, or which could have been made,
 against the Settlement Parties in any way related to the Debtors, including, but not limited to, any Claims or Causes
 of Action on account of actual fraudulent transfer, constructive fraudulent transfer, breach of fiduciary duty, aiding
 and abetting breach of fiduciary duty, breach of contract, unjust enrichment, tortious interference with contract, and
 illegal dividends under state law.

          123.     “Settlement” means the settlement of the Settled Claims on the terms set forth in Article X.A.

          124.     “Settlement Amount” means $15,500,000 in Cash that will be contributed to the Debtors on the
 Settlement Effective Date as part of the Settlement, which amount shall be applied first to the DIP Claims and Term
 Loan Secured Claims owing to the Credit Agreement Primary Agent and Lenders and then distributed in accordance
 with Article VIII.H hereof.

           125.     “Settlement Effective Date” means, with respect to the Settlement, the date no later than 15 days
 after the Confirmation Date (or the first Business Day thereafter if such 15th day is not a Business Day) that is the
 earliest date on which all the following events have occurred (or such other date as the Debtors, the Credit
 Agreement Primary Agent, the Creditors’ Committee, and Sun Capital may agree upon (such agreement not to be
 unreasonably withheld) prior to 15 days after the Confirmation Date): (a) the Confirmation Order has become a
 Final Order; (b) the Debtors have received the Settlement Amount; (c) all DIP Claims, Prepetition ABL Claims, and
 Term Loan Secured Claims have been, or will be upon closing of the Settlement, Satisfied as set forth in Article II.C
 and Article III.B; and (d) the Debtors have filed a notice on the docket stating that the Settlement has become
 effective.

           126.     “Settlement Parties” means (a) the Debtors, and each of their respective current and former
 officers, directors, members, managers, principals, employees, agents, advisory board members, financial advisors,
 partners, attorneys, accountants, investment bankers, consultants, representatives, and other professionals, each in
 their capacity as such and (b) Sun Capital.

          127.     “Shopko” means Specialty Retail Shops Holding Corp.

          128.     “Special Committee” means the special committee created by the board of directors of Shopko.

          129.     “Spirit” means Spirit Realty L.P., Shopko Note Holding, LLC, and their affiliates.

         130.     “Store Closing GOB Sales Order” means the order of the Bankruptcy Court approving the
 Debtors’ going out of business sales in accordance with section 363 of the Bankruptcy Code, entered on February 8,
 2019 [Docket No. 364].

          131.     “Sun Capital” means (a) Sun Capital Partners, Inc., Sun SKO, LLC, Sun Capital Partners IV, LP,
 SKO Group Holding, LLC, Sun Capital Partners Management IV, LLC, and each of their respective current and
 former affiliates, parents, equity holders, shareholders, stockholders, subsidiaries and co-investors, successors,
 assigns, equity holders, shareholders, stockholders, officers, directors, members, managers, principals, employees,
 agents, advisory board members, financial advisors, partners, attorneys, accountants, investment bankers,



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 consultants, representatives, insurers and other professionals, each in their capacity as such, and (b) Donald Roach,
 Casey Lanza, Rick Walters, T. Scott King, Christopher Metz, David Mezzanotte, Aaron Wolfe, Bruce Roberson,
 Clarence (Bud) Terry, Michael McConvery, and Melissa Klafter, each in their capacity as an individual in clause (a)
 of this definition and as an officer and/or director of the Debtor.

            132.   “Term Loan Lenders” means, collectively, the Term Loan B Lenders and the Term Loan B-1
 Lenders.

            133.   “Term Loans” means, collectively, the Term Loan B and the Term Loan B-1.

          134.    “Term Loan B” means the total Term Loan B Commitments made pursuant to (and as defined in)
 the Credit Agreement, made by or on behalf of certain lenders for the ratable accounts of such lenders, pursuant to
 the Credit Agreement.

            135.   “Term Loan B Claim” means any Claim derived from or based upon the Term Loan B.

         136.     “Term Loan B Lenders” means, collectively, the lenders providing loans and commitments under
 the Term Loan B.

          137.    “Term Loan B-1” means the total Term Loan B-1 Commitments made pursuant to (and as defined
 in) the Credit Agreement made by or on behalf of Spirit for the ratable account of Spirit, pursuant to the Credit
 Agreement.

         138.     “Term Loan B-1 Agent” means Spirit, in its capacity as administrative and collateral agent of the
 Term Loan B-1, on behalf of itself as a lender pursuant to the terms of the Credit Agreement and any replacement or
 successor agent on behalf of Spirit as the Term Loan B-1 lenders.

            139.   “Term Loan B-1 Claim” means any Claim derived from or based upon the Term Loan B-1.

          140.   “Term Loan B-1 Lenders” means, collectively, the lenders providing loans and commitments
 under the Term Loan B-1.

          141.     “Term Loan Secured Claim” means any Claim derived from or based upon the Term Loans,
 including Claims for all principal amounts outstanding, interest, fees, expenses, costs, and other charges and
 obligations pursuant to the Credit Agreement and Financing Orders, as well as the adequate protection claims
 granted by any of the Financing Orders.

          142.     “Term Loan Secured Claim Recovery Amount” means the amount of Term Loan Secured Claims
 comprising (a) accrued and unpaid principal, (b) accrued but unpaid interest (at the non-default contract rate), and
 (c) accrued and unpaid fees and expenses.

         143.      “Undeliverable Distribution Reserve” means a segregated account established by the Plan
 Administrator established in accordance with Article VIII.B hereof.

            144.   “U.S. Trustee” means the Office of the United States Trustee for the District of Nebraska.

          145.     “Unexpired Lease” means a lease of nonresidential real property to which one or more of the
 Debtors is a party that is subject to assumption or rejection under sections 365 or 1123 of the Bankruptcy Code.

           146.    “Unimpaired” means, with respect to a Class of Claims or Interests, a Class of Claims or Interests
 that are unimpaired within the meaning of section 1124 of the Bankruptcy Code, including through payment in full
 in Cash.

            147.   “Voting Deadline” means May 22, 2019 at 5:00 p.m. (prevailing Central Time).




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          148.     “Wind Down” means the wind down and dissolution of the Debtors’ Estates following the
 Effective Date as set forth in Article VIII.C hereof.

           149.    “Wind-Down Amount” means Cash in an amount to be determined by the Debtors, which amount
 shall be funded by the Debtors and used by the Plan Administrator to fund the Wind Down.

          150.     “Wind-Down Budget” has the meaning set forth in Article VII.A.2.

         151.     “Wind-Down Milestones” means the deadlines, set forth in the Plan Supplement and approved by
 the Credit Agreement Primary Agent, by which the Plan Administrator must complete certain aspects of the Wind
 Down.

          152.     “Wind-Down Reserve” means a segregated account established by the Plan Administrator
 established in accordance with Article VIII.C.

 B.       Rules of Interpretation

           For purposes herein: (1) in the appropriate context, each term, whether stated in the singular or the plural,
 shall include both the singular and the plural, and pronouns stated in the masculine, feminine, or neuter gender shall
 include the masculine, feminine, and the neuter gender; (2) unless otherwise specified, any reference herein to a
 contract, lease, instrument, release, indenture, or other agreement or document being in a particular form or on
 particular terms and conditions means that the referenced document shall be substantially in that form or
 substantially on those terms and conditions; (3) unless otherwise specified, any reference herein to an existing
 document, schedule, or exhibit, whether or not Filed, having been Filed or to be Filed shall mean that document,
 schedule, or exhibit as it may thereafter be amended, modified, or supplemented; (4) any reference to an Entity as a
 Holder of a Claim or Interest includes that Entity’s successors and assigns; (5) unless otherwise specified, all
 references herein to “Articles” are references to Articles hereof or hereto; (6) unless otherwise specified, all
 references herein to exhibits are references to exhibits in the Plan Supplement; (7) unless otherwise specified, the
 words “herein,” “hereof,” and “hereto” refer to the Plan in its entirety rather than to a particular portion of the Plan;
 (8) captions and headings to Articles are inserted for convenience of reference only and are not intended to be a part
 of or to affect the interpretation of the Plan; (9) unless otherwise specified herein, the rules of construction set forth
 in section 102 of the Bankruptcy Code shall apply; (10) any term used in capitalized form herein that is not
 otherwise defined but that is used in the Bankruptcy Code or the Bankruptcy Rules shall have the meaning assigned
 to that term in the Bankruptcy Code or the Bankruptcy Rules, as the case may be; (11) all references to docket
 numbers of documents Filed in the Chapter 11 Cases are references to the docket numbers under the Bankruptcy
 Court’s CM/ECF system; (12) all references to statutes, regulations, orders, rules of courts, and the like shall mean
 as amended from time to time, and as applicable to the Chapter 11 Cases, unless otherwise stated; (13) any
 immaterial effectuating provisions may be interpreted by the Debtors, the Reorganized Debtors, or the Plan
 Administrator in such a manner that is consistent with the overall purpose and intent of the Plan, all without further
 notice to, or action, order, or approval of, the Bankruptcy Court or any other Entity; and (14) except as otherwise
 specifically provided in the Plan to the contrary, references in the Plan to the Debtors or to the Reorganized Debtors
 shall mean the Debtors and the Reorganized Debtors, as applicable, to the extent the context requires.

 C.       Computation of Time

          Unless otherwise specifically stated herein, the provisions of Bankruptcy Rule 9006(a) shall apply in
 computing any period of time prescribed or allowed herein. If the date on which a transaction may occur pursuant to
 the Plan shall occur on a day that is not a Business Day, then such transaction shall instead occur on the next
 succeeding Business Day. Any action to be taken on the Effective Date may be taken on or as soon as reasonably
 practicable after the Effective Date.

 D.       Governing Law

         Unless a rule of law or procedure is supplied by federal law (including the Bankruptcy Code and
 Bankruptcy Rules) or unless otherwise specifically stated, the laws of the State of Delaware, without giving effect to



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 the principles of conflict of laws, shall govern the rights, obligations, construction, and implementation of the Plan,
 any agreements, documents, instruments, or contracts executed or entered into in connection with the Plan (except as
 otherwise set forth in those agreements, in which case the governing law of such agreement shall control); provided
 that corporate governance matters relating to the Debtors or the Reorganized Debtors, as applicable, shall be
 governed by the laws of the state of incorporation or formation of the relevant Debtor or Reorganized Debtor, as
 applicable.

 E.       Reference to Monetary Figures

          All references in the Plan to monetary figures shall refer to currency of the United States of America,
 unless otherwise expressly provided herein.

 F.       Controlling Document

          In the event of an inconsistency between the Plan and the Disclosure Statement, the terms of the Plan shall
 control in all respects. In the event of an inconsistency between the Plan and any document included in the Plan
 Supplement, the terms of the relevant provision in the Plan shall control (unless stated otherwise in such document
 or in the Confirmation Order). In the event of an inconsistency between the Confirmation Order and the Plan, the
 Confirmation Order shall control.

 G.       Nonconsolidated Plan

          Although for purposes of administrative convenience and efficiency the Plan has been filed as a joint plan
 for each of the Debtors and presents together Classes of Claims against, and Interests in, the Debtors, the Plan does
 not provide for the substantive consolidation of any of the Debtors.

                                            ARTICLE II.
                            ADMINISTRATIVE CLAIMS AND PRIORITY CLAIMS

          In accordance with section 1123(a)(1) of the Bankruptcy Code, Administrative Claims and Priority Tax
 Claims have not been classified and, thus, are excluded from the Classes of Claims and Interests set forth in Article
 III hereof.

 A.       Administrative Claims and Priority Tax Claims

          Except as otherwise provided in this Article II.A and except with respect to Administrative Claims that are
 Professional Fee Claims or subject to 11 U.S.C. § 503(b)(1)(D), requests for payment of Allowed Administrative
 Claims must be Filed and served on the Reorganized Debtors pursuant to the procedures specified in the
 Confirmation Order and the notice of entry of the Confirmation Order no later than the Administrative Claims Bar
 Date. Holders of Administrative Claims that are required to, but do not, File and serve a request for payment of
 such Administrative Claims by such date shall be forever barred, estopped, and enjoined from asserting such
 Administrative Claims against the Debtors or their property, and such Administrative Claims shall be deemed
 discharged as of the Effective Date. Objections to such requests, if any, must be Filed and served on the
 Reorganized Debtors and the requesting party by the Claims Objection Bar Date.

           Except with respect to Administrative Claims that are Professional Fee Claims or DIP Claims, and except
 to the extent that an Administrative Claim or Priority Tax Claim has already been paid during the Chapter 11 Cases
 or a Holder of an Administrative Claim or Priority Tax Claim and the applicable Debtor(s) agree to less favorable
 treatment,(a) each Holder of an Allowed Administrative Claim shall receive, in full and final satisfaction,
 compromise, settlement, and release of and in exchange for its Claim, its Pro Rata share of the Administrative
 Claims Reserve and any applicable distributions according to the priorities set forth in Article VIII.H and I., and (b)
 each Holder of an Allowed Priority Claim shall receive, in full and final satisfaction, compromise, settlement, and
 release of and in exchange for its Claim, its Pro Rata share of the Priority Claims Reserve and any applicable
 distributions according to the priorities set forth in Section 507 of the Bankruptcy Code as set forth in Article VIII.H
 and I.



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          The failure to object to Confirmation by a Holder of an Allowed Administrative Claim or Priority Tax
 Claim shall be deemed to be such Holder’s consent to receive treatment for such Claim that is different from that set
 forth in section 1129(a)(9) of the Bankruptcy Code; provided, however, that the Holders of such Claims shall be
 deemed to consent to the treatment on account of such Claims as provided herein. Notwithstanding the foregoing,
 no request for payment of an Administrative Claim need be Filed with respect to an Administrative Claim Allowed
 by Final Order.

          Any amounts remaining in the Administrative Claims Reserve and in the Priority Claims Reserve after
 payment of all Allowed Administrative Claims, Allowed Priority Claims, and amounts reserved for estimated
 Allowed Administrative and Priority Claims, as applicable, shall promptly be transferred to the General Account and
 shall be distributed as set forth in Article VIII.H and Article VIII.I. without any further action or order of the
 Bankruptcy Court.

 B.       Professional Compensation

          1.       Final Fee Applications and Payment of Professional Fee Claims

          All final requests for payment of Professional Fee Claims incurred during the period from the Petition Date
 through the Confirmation Date shall be Filed no later than 45 days after the Effective Date. All such final requests
 will be subject to approval by the Bankruptcy Court after notice and a hearing in accordance with the procedures
 established by the Bankruptcy Code, Bankruptcy Rules, and prior orders of the Bankruptcy Court, including the
 Interim Compensation Order, and once approved by the Bankruptcy Court, shall be promptly paid from the
 Professional Fee Escrow Account up to the full Allowed amount. To the extent that funds held in the Professional
 Fee Escrow Account are insufficient to satisfy the amount of Professional Fee Claims owing to the Professionals,
 such Professionals shall have an Allowed Administrative Claim for any such deficiency, and the Reorganized
 Debtors or the Plan Administrator, as applicable, shall pay the full unpaid amount of such Allowed Administrative
 Claim in Cash.

          2.       Professional Fee Escrow Account

          On the Effective Date, the Reorganized Debtors shall establish and fund the Professional Fee Escrow
 Account with Cash equal to the Professional Fee Reserve Amount; provided that the Professional Fee Escrow
 Account shall be funded first from Cash held in the Pre-Carve Out Trigger Notice Reserve (as defined in the
 Financing Orders), and second from Cash on hand on the Effective Date. The Professional Fee Escrow Account
 shall be maintained in trust solely for the Professionals. Such funds shall not be considered property of the Estates.
 The amount of Professional Fee Claims owing to the Professionals shall be paid in Cash to such Professionals by the
 Reorganized Debtors as soon as reasonably practicable after such Professional Fee Claims are Allowed. When all
 Allowed amounts owing to the Professionals have been paid in full, any amount remaining in the Professional Fee
 Escrow Account shall promptly be paid to the Reorganized Debtors without any further action or order of the
 Bankruptcy Court. If the Professional Fee Escrow Account is insufficient to fund the full Allowed amounts of
 Professional Fee Claims, the remaining unpaid Allowed Professional Fee Claims will be paid by the Reorganized
 Debtors.

          3.       Professional Fee Reserve Amount

          Professionals shall reasonably estimate their unpaid Professional Fee Claims, and shall deliver such
 estimate to the Debtors no later than five days before the Effective Date; provided that such estimate shall not be
 deemed to limit the amount of the fees and expenses that are the subject of the Professional’s final request for
 payment of Professional Fee Claims. If a Professional does not provide an estimate, the Debtors or Reorganized
 Debtors may estimate the unpaid and unbilled fees and expenses of such Professional.

          4.       Post-Confirmation Date Fees and Expenses

           Except as otherwise specifically provided in the Plan, from and after the Confirmation Date, the Debtors
 shall, in the ordinary course of business and without any further notice to, or action, order, or approval of, the



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 Bankruptcy Court, pay in Cash the reasonable and documented legal, professional, or other fees and expenses
 incurred by the Professionals. Upon the Confirmation Date, any requirement that Professionals comply with
 sections 327 through 331 and 1103 of the Bankruptcy Code in seeking retention or compensation for services
 rendered after such date shall terminate, and the Reorganized Debtors or the Plan Administrator, as applicable, may
 employ and pay any Professional in the ordinary course of business without any further notice to, or action, order, or
 approval of, the Bankruptcy Court.

 C.       DIP Claims

         As of the Confirmation Date, the DIP Claims shall be Allowed Claims in the full amount outstanding under
 the DIP Agreement and Financing Orders, including principal, interest, fees, and expenses.

           Except to the extent that a Holder of an Allowed DIP Claim agrees to a less favorable treatment, in full and
 final satisfaction of the Allowed DIP Claims, each Holder of an Allowed DIP Claim will be paid all Distribution
 Proceeds available for distribution under Article VIII.H hereof until such Allowed DIP Claims are Satisfied. As
 used in this paragraph, “Satisfied” shall mean, in each case to the extent authorized by the Financing Orders: the
 indefeasible payment in full in Cash of all liquidated DIP Claims; the cancelation, backing, or cash collateralization
 of letters of credit under the DIP Agreement in accordance with the terms of the Financing Agreements (as defined
 in the DIP Agreement); or in the case of any contingent Obligations (as defined in the DIP Agreement), including
 any payments that have been provisionally credited to the Obligations and any continuing obligations (contingent or
 otherwise) that the Reorganized Debtors shall have furnished the Credit Agreement Primary Agent with cash
 collateral or an indemnification from a Person, and pursuant to terms and conditions, in each case which are
 satisfactory to the Credit Agreement Primary Agent; Reorganized Debtors shall have furnished the Credit
 Agreement Primary Agent with cash collateral in an amount satisfactory to the Credit Agreement Primary Agent in
 its discretion to secure payment of liabilities in respect of matters or circumstances known to Credit Agreement
 Primary Agent at the time which are reasonably expected to result in any actual loss, cost, damage or expense
 (including attorneys’ fees and legal expenses) to the Credit Agreement Primary Agent or any DIP Lender; and the
 termination of the Credit Agreement Primary Agent’s and DIP Lenders’ obligation to extend credit under the
 Financing Agreements (as defined in the DIP Agreement).

 D.       Statutory Fees

           All fees due and payable pursuant to section 1930 of Title 28 of the United States Code before the Effective
 Date shall be paid by the Debtors. On and after the Effective Date, to the extent applicable, the Reorganized
 Debtors shall pay any and all such fees when due and payable, and shall File with the Bankruptcy Court quarterly
 reports in a form reasonably acceptable to the U.S. Trustee. Each Reorganized Debtor shall remain obligated to pay
 quarterly fees to the U.S. Trustee until the earliest of the applicable Debtor’s Chapter 11 Case being closed,
 dismissed, or converted to a case under chapter 7 of the Bankruptcy Code.

                                         ARTICLE III.
                    CLASSIFICATION AND TREATMENT OF CLAIMS AND INTERESTS

 A.       Summary of Classification

           Claims and Interests, except for DIP Claims, Administrative Claims, and Priority Tax Claims, are classified
 in the Classes set forth in this Article III. A Claim or Interest is classified in a particular Class only to the extent that
 the Claim or Interest qualifies within the description of that Class and is classified in other Classes to the extent that
 any portion of the Claim or Interest qualifies within the description of such other Classes. Except as otherwise
 provided in this Plan, a Claim or Interest also is classified in a particular Class for the purpose of receiving
 distributions pursuant to the Plan only to the extent that such Claim is an Allowed Claim in that Class and has not
 been paid, released, or otherwise satisfied before the Effective Date.




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              1.      Class Identification

              The classification of Claims and Interests against each Debtor (as applicable) pursuant to the Plan is as
 follows:

      Class          Claim or Interest                       Status                         Voting Rights
       1             Other Secured Claims                    Unimpaired                     Presumed to Accept
       2             Other Priority Claims                   Impaired                       Entitled to Vote
       3             Term Loan Secured Claims                Impaired                       Entitled to Vote
       4             General Unsecured Claims                Impaired                       Entitled to Vote
       5             Intercompany Claims                     Unimpaired / Impaired          Not Entitled to Vote
       6             Intercompany Interests                  Unimpaired / Impaired          Not Entitled to Vote
       7             Interests in Shopko                     Impaired                       Deemed to Reject
       8             Section 510(b) Claims                   Impaired                       Deemed to Reject

 B.           Treatment of Claims and Interests

          Subject to Article VI hereof, each holder of an Allowed Claim or Allowed Interest, as applicable, shall
 receive under the Plan the treatment described below in full and final satisfaction, compromise, settlement, release,
 and discharge of, and in exchange for, such holder’s Allowed Claim or Allowed Interest, except to the extent
 different treatment is agreed to by the Debtors and the holder of such Allowed Claim or Allowed Interest, as
 applicable. Unless otherwise indicated, the holder of an Allowed Claim or Allowed Interest, as applicable, shall
 receive such treatment on the later of the Effective Date and the date such holder’s Claim or Interest becomes an
 Allowed Claim or Allowed Interest or as soon as reasonably practicable thereafter.


              1.      Class 1 – Other Secured Claims

                      a.       Classification: Class 1 consists of Other Secured Claims against any Debtor.

                      b.       Treatment: Each Holder of an Allowed Other Secured Claim will receive, at the Debtors’
                               election: (a) payment in full in Cash, which may come from the Other Secured Claims
                               Reserve; (b) delivery of the collateral securing any such Claim and payment of any
                               interest required under section 506(b) of the Bankruptcy Code; (c) Reinstatement of such
                               Claim; or (d) other treatment rendering such Claim Unimpaired.

                      c.       Voting: Class 1 is Unimpaired. Holders of Other Secured Claims are conclusively
                               presumed to have accepted the Plan under section 1126(f) of the Bankruptcy Code and
                               are not entitled to vote to accept or reject the Plan.

              2.      Class 2 – Other Priority Claims

                      a.       Classification: Class 2 consists of Other Priority Claims.

                      b.       Treatment: Each Holder of an Allowed Other Priority Claim will receive its Pro Rata
                               share of the Priority Claims Reserve in accordance with the priorities set forth in section
                               507 of the Bankruptcy Code. The failure to object to Confirmation by a Holder of an
                               Allowed Other Priority Claim shall be deemed to be such Holder’s consent to receive
                               treatment for such Claim that is different from that set forth in section 1129(a)(9) of the
                               Bankruptcy Code.




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            c.      Voting: Class 2 is Impaired. Holders of Other Priority Claims are entitled to vote to
                    accept or reject the Plan.

       3.   Class 3 – Term Loan Secured Claims

            a.      Classification: Class 3 consists of all Term Loan Secured Claims.

            b.      Treatment: As of the Confirmation Date, the Term Loan Secured Claims shall be
                    Allowed Claims in the full amount outstanding under the Credit Agreement and
                    Financing Orders, including all principal, interest, fees, and expenses.

                    Each Holder of an Allowed Term Loan Secured Claim shall receive its Pro Rata share of,
                    in accordance with section 6.4 of the Credit Agreement: (a) Cash equal to the
                    outstanding amount of the Term Loan Secured Claim Recovery Amount until the Term
                    Loan Secured Claims are Satisfied (as defined below); or (b) such other amount as may
                    be agreed upon by such Holder of an Allowed Term Loan Secured Claim and the
                    Debtors.

                    As used in this paragraph, “Satisfied” shall mean: the indefeasible payment in full in
                    Cash of all liquidated Term Loan Secured Claims in an amount not to exceed the Term
                    Loan Secured Claim Recovery Amount; in the case of any contingent Obligations (as
                    defined in the DIP Agreement), including any payments that have been provisionally
                    credited to the Obligations and any continuing obligations (contingent or otherwise), that
                    the Reorganized Debtors shall have furnished the Credit Agreement Primary Agent with
                    cash collateral or an indemnification from a Person, and pursuant to terms and conditions,
                    in each case which are satisfactory to the Credit Agreement Primary Agent; the
                    Reorganized Debtors shall have furnished the Credit Agreement Primary Agent with cash
                    collateral in an amount satisfactory to the Credit Agreement Primary Agent in its
                    discretion to secure payment of liabilities in respect of matters or circumstances known to
                    Credit Agreement Primary Agent at the time which are expected to result in any actual
                    loss, cost, damage or expense (including attorneys’ fees and legal expenses) to the Credit
                    Agreement Primary Agent or any Term Loan Lender; the Debtors or Reorganized
                    Debtors, as applicable, shall have delivered to the Credit Agreement Primary Agent a
                    payoff letter in form and substance acceptable to the Credit Agreement Primary Agent;
                    and the termination of the Credit Agreement Primary Agent’s and DIP Lenders’
                    obligation to extend credit under the Financing Agreements (as defined in the DIP
                    Agreement).

            c.      Voting: Class 3 is Impaired. Holders of Allowed Term Loan Secured Claims are entitled
                    to vote to accept or reject the Plan.

       4.   Class 4 – General Unsecured Claims

            a.      Classification: Class 4 consists of all General Unsecured Claims.

                    Treatment: Each Holder of a General Unsecured Claim will receive its Pro Rata share of
                    the Distribution Proceeds as provided in Article VIII.H hereof.

            b.      Voting: Class 4 is Impaired. Holders of Allowed General Unsecured Claims are entitled
                    to vote to accept or reject the Plan.

       5.   Class 5 – Intercompany Claims

            a.      Classification: Class 5 consists of all Intercompany Claims.




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            b.      Treatment: Each Allowed Intercompany Claim, unless otherwise provided for under the
                    Plan, will either be Reinstated or canceled and released at the option of the Debtors;
                    provided that no distributions shall be made on account of any such Intercompany
                    Claims.

            c.      Voting: Class 5 is either Unimpaired, and the Holders of Allowed Intercompany Claims
                    are conclusively presumed to have accepted the Plan under section 1126(f) of the
                    Bankruptcy Code, or Impaired, and the Holders of Allowed Intercompany Claims are
                    deemed to have rejected the Plan under section 1126(g) of the Bankruptcy Code. Holders
                    of Intercompany Claims are not entitled to vote to accept or reject the Plan.

       6.   Class 6 – Intercompany Interests

            a.      Classification: Class 6 consists of all Intercompany Interests.

            b.      Treatment: Each Allowed Intercompany Interest shall be Reinstated for administrative
                    convenience or canceled and released without any distribution on account of such
                    interests at the option of the Debtors.

                    Voting: Class 6 is either Unimpaired, and the Holders of Allowed Intercompany Interests
                    are conclusively presumed to have accepted the Plan under section 1126(f) of the
                    Bankruptcy Code, or Impaired, and the Holders of Allowed Intercompany Interests are
                    deemed to have rejected the Plan under section 1126(g) of the Bankruptcy Code. Holders
                    of Intercompany Interests are not entitled to vote to accept or reject the Plan.

       7.   Class 7 – Interests in Shopko

            a.      Classification: Class 7 consists of all Interests in Shopko.

            b.      Treatment: Each Allowed Interest in Shopko shall be canceled, released, and
                    extinguished, and will be of no further force or effect and no Holder of Interests in
                    Shopko shall be entitled to any recovery or distribution under the Plan on account of such
                    Interests.

            c.      Voting: Class 7 is Impaired. Holders of Interests in Shopko are deemed to have rejected
                    the Plan under section 1126(g) of the Bankruptcy Code and are not entitled to vote to
                    accept or reject the Plan.

       8.   Class 8 – Section 510(b) Claims

            a.      Classification: Class 8 consists of all Section 510(b) Claims.

            b.      Treatment: Section 510(b) Claims will be canceled, released, and extinguished as of the
                    Effective Date, and will be of no further force or effect, and each Holder of a Section
                    510(b) Claim will not receive any distribution on account of such Section 510(b) Claim.
                    The Debtors are not aware of any valid Section 510(b) Claims and believe that no such
                    Section 510(b) Claims exist.

            c.      Voting: Class 8 is Impaired. Holders of Section 510(b) Claims are deemed to have
                    rejected the Plan under section 1126(g) of the Bankruptcy Code and are not entitled to
                    vote to accept or reject the Plan.




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 C.      Special Provision Governing Unimpaired Claims

          Except as otherwise provided in the Plan, nothing under the Plan shall affect the Debtors’ or the
 Reorganized Debtors’ rights in respect of any Unimpaired Claim, including all rights in respect of legal and
 equitable defenses to or setoffs or recoupments against any such Unimpaired Claim.

 D.       Confirmation Pursuant to Sections 1129(a)(10) and 1129(b) of the Bankruptcy Code

          Section 1129(a)(10) of the Bankruptcy Code shall be satisfied for purposes of Confirmation by acceptance
 of the Plan by at least one Impaired Class of Claims. The Debtors shall seek Confirmation of the Plan pursuant to
 section 1129(b) of the Bankruptcy Code with respect to any rejecting Class(es) of Claims and Interests. The Debtors
 reserve the right to modify the Plan in accordance with Article XII hereof to the extent, if any, that Confirmation
 pursuant to section 1129(b) of the Bankruptcy Code requires modification, including by modifying the treatment
 applicable to a Class of Claims to render such Class of Claims Unimpaired to the extent permitted by the
 Bankruptcy Code and the Bankruptcy Rules.

 E.       Elimination of Vacant Classes

         Any Class of Claims or Interests that does not have a Holder of an Allowed Claim or Allowed Interest or a
 Claim or Interest temporarily Allowed by the Bankruptcy Court as of the date of the Confirmation Hearing shall be
 deemed eliminated from the Plan for purposes of voting to accept or reject the Plan and for purposes of determining
 acceptance or rejection of the Plan by such Class pursuant to section 1129(a)(8) of the Bankruptcy Code.

 F.       Voting Classes; Presumed Acceptance by Non-Voting Classes

         If a Class of Claims or Interests is eligible to vote and no Holder of Claims or Interests, as applicable, in
 such Class votes to accept or reject the Plan, the Plan shall be presumed accepted by such Class.

 G.       Subordinated Claims and Interests

          The allowance, classification, and treatment of all Allowed Claims and Allowed Interests and their
 respective distributions and treatments under the Plan take into account and conform to the relative priority and
 rights of the Claims and Interests in each Class in connection with any contractual, legal, and equitable
 subordination rights relating thereto, whether arising under general principles of equitable subordination,
 section 510(b) of the Bankruptcy Code, or otherwise. Pursuant to section 510 of the Bankruptcy Code, the Debtors
 or Reorganized Debtors, as applicable, reserve the right to re-classify any Allowed Claim or Allowed Interest in
 accordance with any contractual, legal, or equitable subordination relating thereto.

                                            ARTICLE IV.
                               MEANS FOR IMPLEMENTATION OF THE PLAN

 A.       General Settlement of Claims

           Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, and in consideration for the
 classification, distributions, releases, and other benefits provided under the Plan, on the Effective Date, the
 provisions of the Plan shall constitute a good-faith compromise and settlement of the Settled Claims, and of all
 Claims, Interests, Causes of Action, and controversies released, settled, compromised, discharged, satisfied, or
 otherwise resolved pursuant to the Plan. The Plan shall be deemed a motion to approve the good-faith compromise
 and settlement of all such Claims, Interests, Causes of Action, and controversies, including the Settlement, pursuant
 to Bankruptcy Rule 9019, and the entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval
 of such compromise and settlement under section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019, as well
 as a finding by the Bankruptcy Court that such settlement and compromise is fair, equitable, reasonable, and in the
 best interests of the Debtors and their Estates.




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 B.       Restructuring Transactions

           Before, on, and after the Effective Date, the Debtors or Reorganized Debtors, as applicable, shall take all
 actions as may be necessary or appropriate to effectuate the Restructuring Transactions, including: (a) the execution
 and delivery of any appropriate agreements or other documents of merger, consolidation, restructuring, conversion,
 disposition, transfer, dissolution, or liquidation containing terms that are consistent with the terms of the Plan, and
 that satisfy the requirements of applicable law and any other terms to which the applicable Entities may agree;
 (b) the execution and delivery of appropriate instruments of transfer, assignment, assumption, or delegation of any
 asset, property, right, liability, debt, or obligation on terms consistent with the terms of the Plan and having other
 terms for which the applicable parties agree; (c) the filing of appropriate certificates or articles of incorporation,
 reincorporation, merger, consolidation, conversion, or dissolution pursuant to applicable state law; (d) such other
 transactions that are required to effectuate the Restructuring Transactions; (e) all transactions necessary to provide
 for the purchase of substantially all of the assets of, or Interests in, any of the Debtors by one or more Entities to be
 wholly owned by Reorganized Shopko or any other Entity pursuant to the Asset Purchase Agreement, which
 purchase may be structured as a taxable transaction for United States federal income tax purposes; and (f) all other
 actions that the applicable Entities determine to be necessary or appropriate, including making filings or recordings
 that may be required by applicable law.

 C.       Cancelation of Notes, Instruments, Certificates, and Other Documents

           On the Effective Date, except as otherwise specifically provided for in the Plan: (1) the obligations of any
 Debtor under any certificate, share, note, bond, indenture, purchase right, or other instrument or document, directly
 or indirectly evidencing or creating any indebtedness or obligation of or ownership interest, equity, or portfolio
 interest in the Debtors or any warrants, options, or other securities exercisable or exchangeable for, or convertible
 into, debt, equity, ownership, or profits interests in the Debtors giving rise to any Claim or Interest shall be canceled
 and deemed surrendered as to the Debtors and shall not have any continuing obligations thereunder; and (2) the
 obligations of the Debtors pursuant, relating, or pertaining to any agreements, indentures, certificates of designation,
 bylaws, or certificates or articles of incorporation or similar documents governing the shares, certificates, notes,
 bonds, indenture, purchase rights, options, warrants, or other instruments or documents evidencing or creating any
 indebtedness or obligation of the Debtors shall be fully released, settled, and compromised.

 D.       Exemption from Certain Taxes and Fees

           Pursuant to section 1146(a) of the Bankruptcy Code, any transfers of property pursuant hereto, including
 the Asset Sales, or the issuance, transfer or exchange of any security under the Plan shall not be subject to any
 document recording tax, stamp tax, conveyance fee, intangibles or similar tax, mortgage tax, stamp act, real estate
 transfer tax, sale or use tax, mortgage recording tax, or other similar tax or governmental assessment, and upon entry
 of the Confirmation Order, the appropriate state or local governmental officials or agents shall forgo the collection
 of any such tax or governmental assessment and accept for filing and recordation any of the foregoing instruments
 or other documents pursuant to such transfers of property without the payment of any such tax, recordation fee, or
 governmental assessment.

 E.       Surcharge Resolution

          Upon entry of the Confirmation Order, (i) no costs or expenses of administration which have been or may
 be incurred in the Chapter 11 Cases or any successor shall be charged against the Credit Agreement Primary Agent,
 the Term Loan B-1 Agent, or any DIP Lender, their respective claims or the Collateral (as defined in the DIP
 Agreement) pursuant to §§ 105 or 506(c) of the Bankruptcy Code or otherwise; and (ii) the Debtors’ Motion for an
 Order (I) Authorizing the Debtors to Surcharge Certain Collateral, (II) Allowing the Lenders’ Secured Claim in an
 Amount that Accounts for the Surcharge, and (III) Granting Related Relief [Docket No. 656] shall be dismissed with
 prejudice, without the need for any further action by the Debtors, Reorganized Debtors, the Plan Administrator or
 the Court to effectuate such dismissal. For the avoidance of doubt, the Confirmation Order shall expressly approve
 and authorize the foregoing terms, each of which shall become effective and irrevocable immediately upon entry of
 the Confirmation Order.




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 F.       Asset Sales

          On the Effective Date, the Debtors shall consummate the Asset Sales, if any, and, among other things, the
 acquired assets, as set forth in the Asset Purchase Agreement, shall be transferred to and vest in the Purchaser free
 and clear of all Liens, Claims, charges, or other encumbrances pursuant to the terms of the Asset Purchase
 Agreement and Confirmation Order; provided that, notwithstanding anything to the contrary set forth in the Plan,
 Plan Supplement, Confirmation Order or otherwise, the Liens, claims, and rights of the Credit Agreement Primary
 Agent and DIP Lenders set forth in the Financing Orders shall continue in full force and effect on and after the
 Effective Date until all DIP Claims are paid in full in Cash and all Term Loan Secured Claims are Satisfied or
 otherwise satisfied with the consent of the Holders of such Claims. The Purchaser shall be deemed not to be a
 successor of the Debtors. On the Effective Date, the Purchaser shall pay to the Debtors the proceeds from the Asset
 Sales, as and to the extent provided for in the Asset Purchase Agreements. The Confirmation Order shall:
 (a) approve the Asset Purchase Agreement, if any; and (b) authorize the Debtors or Reorganized Debtors, as
 applicable, to undertake the transactions contemplated by the Asset Purchase Agreement, if any, including pursuant
 to sections 363, 365, 1123(a)(5)(B), and 1123(a)(5)(D) of the Bankruptcy Code.

 G.       The Asset Sale Restructuring

          1.       Vesting of Assets

           Except as otherwise provided in the Plan, the Asset Purchase Agreement (if any), or any agreement,
 instrument, or other document incorporated herein or therein, or any agreement, instrument, or other document
 incorporated in the Plan or the Plan Supplement, in each case to the extent of the Credit Agreement Primary Agent’s
 consent, on the Effective Date, the assets of the Debtors shall vest in the Reorganized Debtors for the purpose of
 liquidating the Estates, free and clear of all Liens, Claims, charges, or other encumbrances; provided that, subject to
 funding the Professional Fee Escrow Account, the collateral, or proceeds of sales of such collateral, of the
 Reorganized Debtors securing the DIP Claims, Prepetition ABL Claims, and Term Loan Secured Claims shall
 remain subject to the liens and claims of the Credit Agreement Primary Agent and Lenders (as defined in the DIP
 Agreement) to the same extent as such liens and claims were enforceable against the Debtors and the Debtors’ assets
 until such DIP Claims, Prepetition ABL Claims, and Term Loan Secured Claims are Satisfied as set forth in Article
 II.C and Article III.B. On and after the Effective Date, except as otherwise provided for in the Plan, the Financing
 Orders, or the Asset Purchase Agreement, the Debtors and the Reorganized Debtors may operate their business and
 use, acquire, or dispose of property in accordance with the Wind-Down Budget, and compromise or settle any
 Claims, Interests, or Causes of Action with the prior written consent of the Credit Agreement Primary Agent;
 provided that the Debtors and the Reorganized Debtors shall not need the consent of the Credit Agreement Primary
 Agent following the date on which all DIP Claims and Term Loan Secured Claims are Satisfied as set forth in
 Article II.C and Article III.B.

          2.       Sources of Consideration for Plan Distributions

           The Reorganized Debtors will fund distributions under the Plan with Cash on hand on the Effective Date,
 including the Settlement Amount, and the revenues and proceeds of all assets of the Debtors, including proceeds
 from all Causes of Action not settled, released, discharged, enjoined, or exculpated under the Plan or otherwise on or
 prior to the Effective Date.

           Notwithstanding anything to the contrary in the Plan or in the Asset Purchase Agreements, on the Effective
 Date, any Cause of Action not settled, released, discharged, enjoined, or exculpated under the Plan on or prior to the
 Effective Date shall vest in the Reorganized Debtors and shall be subject to administration by the Plan Administrator
 in consultation with the Credit Agreement Primary Agent; provided that the Plan Administrator shall not need to
 consult with the Credit Agreement Primary Agent following the date on which all DIP Claims and Term Loan
 Secured Claims are Satisfied as set forth in Article II.C and Article III.B; provided, further, that all Avoidance
 Actions against the Debtors’ vendors and landlords (other than with respect to any Holder of a Claim or Interest set
 forth in the Confirmation Order that “opted out” of granting releases by timely objecting to the Plan’s third-party
 release provisions, unless otherwise ordered by the Bankruptcy Court on or before Confirmation) shall be deemed
 waived, relinquished, and extinguished on the Settlement Effective Date and such Avoidance Actions shall not vest
 in the Reorganized Debtors.


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          3.       Reorganized Debtors

           On and after the Effective Date, the Reorganized Debtors shall continue in existence for purposes of
 (a) winding down the Debtors’ business and affairs as expeditiously as reasonably possible including overseeing the
 Store Closing GOB Sales in accordance with the Store Closing Liquidation Agreement as authorized under the Store
 Closing GOB Sales Order (as each such term is defined in the DIP Agreement), in accordance with the Wind-Down
 Budget and Wind-Down Milestones, (b) resolving Disputed Claims, (c) making distributions on account of Allowed
 Claims as provided hereunder, (d) establishing and funding the Distribution Reserve Accounts in accordance with
 the Wind-Down Budget, (e) enforcing and prosecuting claims, interests, rights, and privileges under the Causes of
 Action on the Retained Causes of Action List in an efficacious manner and only to the extent the benefits of such
 enforcement or prosecution are reasonably believed to outweigh the costs associated therewith, (f) filing appropriate
 tax returns, (g) complying with its continuing obligations under the Asset Purchase Agreement, if any, and the
 Financing Orders (as applicable), and (h) administering the Plan in an efficacious manner. The Reorganized
 Debtors shall be deemed to be substituted as the party-in-lieu of the Debtors in all matters, including (i) motions,
 contested matters, and adversary proceedings pending in the Bankruptcy Court, Financing Orders (as applicable)
 and (iii) all matters pending in any courts, tribunals, forums, or administrative proceedings outside of the
 Bankruptcy Court, in each case without the need or requirement for the Plan Administrator to file motions or
 substitutions of parties or counsel in each such matter.

          4.       Plan Administrator

           The Plan Administrator shall act for the Reorganized Debtors in the same fiduciary capacity as applicable
 to a board of managers, directors, and officers, subject to the provisions hereof (and all certificates of formation,
 membership agreements, and related documents are deemed amended by the Plan to permit and authorize the same).
 On the Effective Date, the authority, power, and incumbency of the persons acting as managers, directors, or sale
 director of the Reorganized Debtors shall be deemed to have resigned, solely in their capacities as such, and the Plan
 Administrator shall be appointed as the sole manager, sole director, and sole officer of the Reorganized Debtors, and
 shall succeed to the powers of the Reorganized Debtors’ managers, directors, and officers. From and after the
 Effective Date, the Plan Administrator shall be the sole representative of, and shall act for, the Reorganized Debtors.
 The foregoing shall not limit the authority of the Reorganized Debtors or the Plan Administrator, as applicable, to
 continue the employment any former manager or officer, including pursuant to any transition services agreement
 entered into on or after the Effective Date by and between the Reorganized Debtors and the Purchaser. The Debtors,
 after the Confirmation Date, and the Reorganized Debtors, or Plan Administrator after the Effective Date, shall be
 permitted to make payments to employees pursuant to employment programs then in effect, and to implement
 additional employee programs and make payments thereunder, without any further notice to or action, order, or
 approval of the Bankruptcy Court.

          5.       Financing Orders

           Subject to the funding of the Professional Fee Escrow Account, notwithstanding anything to the contrary
 set forth in the Plan, Plan Supplement, Confirmation Order or otherwise, the Liens, claims, and rights of the Credit
 Agreement Primary Agent and DIP Lenders set forth in the Financing Orders shall continue in full force and effect
 on and after the Effective Date until all DIP Claims and Term Loan Secured Claims are paid in full in Cash or
 otherwise satisfied with the consent of the Holder of such Claim.

          6.       Dissolution and Board of the Debtors

           As of the Effective Date, the existing board of directors or managers, as applicable, of the Debtors shall be
 dissolved without any further action required on the part of the Debtors or the Debtors’ officers, directors, managers,
 shareholders, or members, and any remaining officers, directors, managers, or managing members of any Debtor
 shall be dismissed without any further action required on the part of any such Debtor, the equity holders of the
 Debtors, the officers, directors, or managers, as applicable, of the Debtors, or the members of any Debtor. Subject
 in all respects to the terms of this Plan, the Debtors shall be dissolved as soon as practicable on or after the Effective
 Date, but in no event later than the closing of the Chapter 11 Cases.




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          As of the Effective Date, the Plan Administrator shall act as the sole officer, director, and manager, as
 applicable, of the Debtors with respect to its affairs. Subject in all respects to the terms of this Plan, the Plan
 Administrator shall have the power and authority to take any action necessary to wind down and dissolve any of the
 Debtors, and shall: (a) file a certificate of dissolution for any of the Debtors, together with all other necessary
 corporate and company documents, to effect the dissolution of Shopko under the applicable laws of its state of
 formation; and (b) complete and file all final or otherwise required federal, state, and local tax returns and shall pay
 taxes required to be paid for any of the Debtors, and pursuant to section 505(b) of the Bankruptcy Code, request an
 expedited determination of any unpaid tax liability of any of the Debtors or their Estates for any tax incurred during
 the administration of such Debtor’s Chapter 11 Case, as determined under applicable tax laws.

          The filing by the Plan Administrator of any of the Debtors’ certificate of dissolution shall be authorized and
 approved in all respects without further action under applicable law, regulation, order, or rule, including any action
 by the stockholders, members, board of directors, or board of managers of Shopko or any of its affiliates.

          7.       Release of Liens

           Except as otherwise expressly provided herein, on the Effective Date, all Liens on any property of any
 Debtors or the Reorganized Debtors shall automatically terminate, all property subject to such Liens shall be
 automatically released, and all guarantees of any Debtors or the Reorganized Debtors shall be automatically
 discharged and released; provided, however, that notwithstanding anything to the contrary set forth in this Plan,
 subject to the funding of the Professional Fee Escrow Account, until the DIP Claims are Satisfied in accordance with
 Article II.C hereof and the Term Loan Secured Claims are Satisfied in accordance with Article III.B.3 hereof, (a) all
 Liens of the Credit Agreement Primary Agent and Lenders (as defined in the DIP Agreement) on any property of
 any Debtors or the Reorganized Debtors shall remain valid, binding, and in full effect on and after the Effective
 Date, (b) all property of the Debtors and Reorganized Debtors shall remain subject to the Liens and claims of the
 Credit Agreement Primary Agent and Lenders and shall continue to secure all Obligations (as defined in the DIP
 Agreement), DIP Claims and Term Loan Secured Claims owing to the Credit Agreement Primary Agent and
 Lenders, and (c) all guarantees of any Debtors or the Reorganized Debtors in favor of the Credit Agreement Primary
 Agent or Lenders shall be reaffirmed and remain in full force and effect.

          8.       Corporate Action

           Upon the Effective Date, all actions contemplated under the Plan, regardless of whether taken before, on, or
 after the Effective Date, shall be deemed authorized and approved in all respects, including: (a) consummation of
 the Asset Sales; and (b) all other actions contemplated under the Plan (whether to occur before, on, or after the
 Effective Date). All matters provided for in the Plan or deemed necessary or desirable by the Debtors before, on, or
 after the Effective Date involving the corporate structure of the Debtors or the Reorganized Debtors, and any
 corporate action required by the Debtors or the Reorganized Debtors in connection with the Plan or corporate
 structure of the Debtors or Reorganized Debtors, shall be deemed to have occurred and shall be in effect on the
 Effective Date, without any requirement of further action by the security holders, directors, managers, or officers of
 the Debtors or the Reorganized Debtors. Before, on, or after the Effective Date, the appropriate officers of the
 Debtors or the Reorganized Debtors, as applicable, shall be authorized to issue, execute, and deliver the agreements,
 documents, securities, and instruments contemplated under the Plan (or necessary or desirable to effect the
 transactions contemplated under the Plan) in the name of and on behalf of the Reorganized Debtors. The
 authorizations and approvals contemplated by this Article IV.G shall be effective notwithstanding any requirements
 under non-bankruptcy law.

          9.       Indenture Trustee Fees

          On or as soon as reasonably practicable after the Settlement Effective Date, the Debtors or Reorganized
 Debtors (as applicable) shall pay the Indenture Trustee in Cash up to $200,000 of any reasonable and documented
 Indenture Trustee Fees incurred by the Indenture Trustee without the need for the Indenture Trustee to file fee
 applications with the Bankruptcy Court. The Indenture Trustee shall not be entitled to assert any Claims, including
 the Indenture Trustee Fees, against the Debtors or Reorganized Debtors in excess of $200,000, and shall waive any
 such Claims against the Debtors or Reorganized Debtors.



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          10.      Effectuating Documents; Further Transactions

           Prior to the Effective Date, the Debtors are, and on and after the Effective Date, the Reorganized Debtors,
 the Plan Administrator, and the officers and members thereof are, authorized to and may issue, execute, deliver, file,
 or record to the extent not inconsistent with any provision of this Plan such contracts, securities, instruments,
 releases, and other agreements or documents and take such actions as may be necessary or appropriate to effectuate,
 implement, and further evidence the terms and conditions of the Plan, without the need for any approvals,
 authorizations, notice, or consents, except for those expressly required pursuant to the Plan.

          11.      Preservation of Causes of Action

          Unless any Cause of Action against an Entity is expressly waived, relinquished, exculpated, released,
 compromised, or settled in the Plan or a Final Order, in accordance with section 1123(b) of the Bankruptcy Code,
 the Debtors shall convey to the Plan Administrator all rights to commence, prosecute, or settle, as appropriate, any
 and all Causes of Action, whether arising before or after the Petition Date, which shall vest in the Plan Administrator
 pursuant to the terms of the Plan. On the Settlement Effective Date, all Avoidance Actions against the Debtors’
 vendors and landlords (other than with respect to any Holder of a Claim or Interest set forth in the Confirmation
 Order that “opted out” of granting releases by timely objecting to the Plan’s third-party release provisions, unless
 otherwise ordered by the Bankruptcy Court on or before Confirmation) shall be deemed waived, relinquished, and
 extinguished, and no such Avoidance Action shall revert to the Reorganized Debtors.

            The Plan Administrator, on and after the Effective Date, may enforce all rights to commence, prosecute, or
 settle, as appropriate, any and all Causes of Action (other than Avoidance Actions waived, relinquished, released, or
 otherwise extinguished under the Plan), whether arising before or after the Petition Date, and the Plan
 Administrator’s rights to commence, prosecute, or settle such Causes of Action shall be preserved notwithstanding
 the occurrence of the Effective Date. The Plan Administrator may, in its reasonable business judgment, pursue such
 Causes of Action and may retain and compensate professionals in the analysis or pursuit of such Causes of Action to
 the extent the Plan Administrator deems appropriate, including on a contingency fee basis. No Entity may rely on
 the absence of a specific reference in the Plan or the Disclosure Statement to any Cause of Action against them as
 any indication that the Debtors or the Plan Administrator will not pursue any and all available Causes of Action
 against them. Unless any Cause of Action against an Entity is expressly waived, relinquished, exculpated, released,
 compromised, or settled in the Plan or a Final Order, the Plan Administrator expressly reserves all Causes of Action
 for later adjudication, and, therefore, no preclusion doctrine, including the doctrines of res judicata, collateral
 estoppel, issue preclusion, claim preclusion, estoppel (judicial, equitable, or otherwise), or laches, shall apply to
 such Causes of Action upon, after, or as a consequence of the Confirmation or Consummation. The Plan
 Administrator reserves and shall retain the foregoing Causes of Action notwithstanding the rejection of any
 Executory Contract or Unexpired Lease during the Chapter 11 Cases or pursuant to the Plan. The Plan
 Administrator shall have the exclusive right, authority, and discretion to determine and to initiate, file, prosecute,
 enforce, abandon, settle, compromise, release, withdraw, or litigate to judgment any such Causes of Action, or to
 decline to do any of the foregoing, without the consent or approval of any third party or any further notice to, or
 action, order, or approval of, the Bankruptcy Court.

          12.      Closing the Chapter 11 Cases

          Upon the occurrence of the Effective Date, the Plan Administrator shall be permitted to close all of the
 Chapter 11 Cases except for the Chapter 11 Case of Shopko, and all contested matters relating to each of the
 Debtors, including objections to Claims, shall be administered and heard in the Chapter 11 Case of Shopko.

           When all Disputed Claims have become Allowed or Disallowed and all remaining Cash has been
 distributed in accordance with the Plan, the Plan Administrator shall seek authority from the Bankruptcy Court to
 close the Chapter 11 Case of Shopko in accordance with the Bankruptcy Code and the Bankruptcy Rules.




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                                      ARTICLE V.
                 TREATMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES

 A.      Assumption and Rejection of Executory Contracts and Unexpired Leases

           On the Effective Date, except as otherwise provided herein, each Executory Contract and Unexpired Lease
 not previously rejected, assumed, or assumed and assigned, including any employee benefit plans, severance plans,
 and other Executory Contracts under which employee obligations arise, shall be deemed automatically rejected
 pursuant to sections 365 and 1123 of the Bankruptcy Code, unless such Executory Contract or Unexpired Lease:
 (1) is specifically described in the Plan as to be assumed in connection with confirmation of the Plan, or is
 specifically scheduled to be assumed or assumed and assigned pursuant to the Plan or the Plan Supplement;
 (2) is subject to a pending motion to assume such Unexpired Lease or Executory Contract as of the Effective Date;
 (3) is to be assumed by the Debtors or assumed by the Debtors and assigned to another third party, as applicable, in
 connection with the any sale transaction; (4) is a contract, instrument, release, indenture, or other agreement or
 document entered into in connection with the Plan; or (5) is a D&O Liability Insurance Policy. Entry of the
 Confirmation Order by the Bankruptcy Court shall constitute approval of such assumptions, assignments, and
 rejections, including the assumption of the Executory Contracts or Unexpired Leases as provided in the Plan
 Supplement, pursuant to sections 365(a) and 1123 of the Bankruptcy Code.

 B.       Claims Based on Rejection of Executory Contracts or Unexpired Leases

           Proofs of Claims with respect to Claims arising from the rejection of Executory Contracts or Unexpired
 Leases, if any, must be Filed with the Bankruptcy Court within the latest to occur of: (1) 30 days after the date of
 entry of an order of the Bankruptcy Court (including the Confirmation Order) approving such rejection; (2) 30 days
 after the Debtors provide notice of surrender of possession to a landlord of a rejected lease where surrender occurs
 after entry of an order approving such rejection; and (3) 30 days after notice of any rejection that occurs after the
 Effective Date. Any Holders of Claims arising from the rejection of an Executory Contract or Unexpired
 Lease for which Proofs of Claims were not timely Filed shall not (1) be treated as a creditor with respect to
 such Claim, (2) be permitted to vote to accept or reject the Plan on account of any Claim arising from such
 rejection, or (3) participate in any distribution in the Chapter 11 Cases on account of such Claim, and any
 Claims arising from the rejection of an Executory Contract or Unexpired Lease not Filed with the
 Bankruptcy Court within such time will be automatically Disallowed, forever barred from assertion, and
 shall not be enforceable against the Debtors, the Debtors’ Estates, the Reorganized Debtors, or the property
 for any of the foregoing without the need for any objection by the Debtors, Reorganized Debtors, or the Plan
 Administrator, as applicable, or further notice to, or action, order, or approval of, the Bankruptcy Court or
 any other Entity, and any Claim arising out of the rejection of the Executory Contract or Unexpired Lease
 shall be deemed fully compromised, settled, and released, notwithstanding anything in the Schedules or a
 Proof of Claim to the contrary. Claims arising from the rejection of the Debtors’ Executory Contracts or
 Unexpired Leases shall be classified as General Unsecured Claims and shall be treated in accordance with Article III
 of the Plan.

 C.      Cure of Defaults for Assumed, or Assumed and Assigned, Executory Contracts and Unexpired Leases

          Any monetary defaults under an Executory Contract or Unexpired Lease to be assumed, or assumed and
 assigned, shall be satisfied, pursuant to section 365(b)(1) of the Bankruptcy Code, by payment of the Cure Claim, as
 reflected on the Cure Notice or as otherwise agreed or determined by a Final Order of the Bankruptcy Court, in Cash
 on the Effective Date or as soon as reasonably practicable thereafter, subject to the limitations described below, or
 on such other terms as the parties to such Executory Contract or Unexpired Leases may otherwise agree. In the
 event of a dispute regarding: (1) the amount of any Cure Claim; (2) the ability of the Reorganized Debtors, the
 Purchaser, or any assignee, as applicable, to provide “adequate assurance of future performance” (with the meaning
 of section 365 of the Bankruptcy Code) under the Executory Contract or Unexpired Lease to be assumed or assumed
 and assigned; or (3) any other matter pertaining to assumption or the assumption and assignment, the Cure Claims
 shall be made following the entry of a Final Order resolving the dispute and approving the assumption or the
 assumption and assignment. Notwithstanding the foregoing, nothing herein shall prevent the Reorganized Debtors
 from settling any Cure Claim without further notice to or action, order, or approval of the Bankruptcy Court.



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          Unless otherwise provided by an order of the Bankruptcy Court or in the Asset Purchase Agreement, at
 least seven days before the Voting Deadline, the Debtors shall distribute, or cause to be distributed, Cure Notices to
 the applicable third parties. Any objection by a counterparty to an Executory Contract or Unexpired Lease to
 the proposed assumption, assumption and assignment, or related Cure Claim must be Filed by the
 Cure/Assumption Objection Deadline. Any counterparty to an Executory Contract or Unexpired Lease that fails
 to object timely to the proposed assumption, assumption and assignment, or Cure Notice will be deemed to have
 assented to such assumption or assumption and assignment, and Cure Claim. To the extent that the Debtors seek to
 assume and assign an Executory Contract or Unexpired Lease pursuant to the Plan, the Debtors will identify the
 assignee in the applicable Cure Notice and/or Schedule and provide “adequate assurance of future performance” for
 such assignee (within the meaning of section 365 of the Bankruptcy Code) under the applicable Executory Contract
 or Unexpired Lease to be assumed and assigned.

           Assumption or assumption and assignment of any Executory Contract or Unexpired Lease pursuant to the
 Plan or otherwise, and the payment of the Cure Claim, shall result in the full release and satisfaction of any Claims
 or defaults, whether monetary or nonmonetary, including defaults of provisions restricting the change in control or
 ownership interest composition or other bankruptcy-related defaults, arising under any assumed Executory Contract
 or Unexpired Lease at any time before the date that the Debtors assume or assume and assign such Executory
 Contract or Unexpired Lease. Any Proofs of Claim Filed with respect to an Executory Contract or Unexpired Lease
 that has been assumed or assumed and assigned shall be deemed Disallowed and expunged, without further notice
 to, or action, order, or approval of, the Bankruptcy Court.

 D.       Indemnification Obligations

           All indemnification obligations of the Debtors arising under or pursuant to the Credit Agreement, DIP
 Agreement, or any other of the Financing Agreements (as defined in the DIP Agreement) in place as of the Effective
 Date shall be assumed and remain in full force and effect after the Effective Date, and shall not be modified,
 reduced, discharged, impaired, or otherwise affected in any way, and shall survive Unimpaired and unaffected,
 irrespective of when such obligation arose.

 E.       Director and Officer Liability Insurance

          To the extent that the D&O Liability Insurance Policies are considered to be Executory Contracts,
 notwithstanding anything in the Plan to the contrary, effective as of the Effective Date, the Debtors shall be deemed
 to have assumed all D&O Liability Insurance Policies with respect to the Debtors’ directors, managers, officers, and
 employees serving on or before the Petition Date pursuant to section 365(a) of the Bankruptcy Code, and coverage
 for defense and indemnity under any of the D&O Liability Insurance Policies shall remain available to all
 individuals within the definition of “Insured” in any of the D&O Liability Insurance Policies. Entry of the
 Confirmation Order will constitute the Bankruptcy Court’s approval of the Debtors’ foregoing assumption of each of
 the unexpired D&O Liability Insurance Policies. Notwithstanding anything to the contrary contained herein,
 Confirmation of the Plan shall not discharge, impair, or otherwise modify any indemnity obligations assumed by the
 foregoing assumption of the D&O Liability Insurance Policies, and each such indemnity obligation will be deemed
 and treated as an Executory Contract that has been assumed by the Debtors under the Plan as to which no Proof of
 Claim need be Filed.

 F.       Run-Out Claims

         No later than five (5) business days prior to the earlier of (i) the Plan objection deadline, and (ii) the Voting
 Deadline, the Debtors shall provide Cigna Health and Life Insurance Company with written notice of its decision as
 to whether or not the Debtors propose to assume or reject the ASO Agreement under the Plan. Such decision shall
 be revocable only with the consent of Cigna Health and Life Insurance Company, provided such consent cannot be
 unreasonably withheld.

           If the Debtors propose to reject the ASO Agreement, such notice shall include the Debtors’ decision as to
 whether: (i) the payment of Run-Out Claims prior to the effective date of rejection of the ASO Agreement will
 continue to be funded by the Debtors or a successor thereto during the twelve (12) month period following such
 rejection, and the source of such funding; or (ii) the payment of Run-Out Claims will not be funded, in which case


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 such notice shall include the name and contact information of a representative of the Debtors or their successor to
 whom Cigna Health and Life Insurance Company can direct inquiries from former employees whose healthcare
 claims will not be paid. Such decision shall be revocable only with the consent of Cigna Health and Life Insurance
 Company, provided such consent cannot be unreasonably withheld.

           Pursuant to the Order (I) Authorizing the Debtors to (A) Pay Prepetition Wages, Salaries, Other
 Compensation, and Reimbursable Expenses and (B) Continue Employee Benefits Programs, and (II) Granting
 Related Relief [Docket No. 98] and corresponding motion [Docket No. 23], the Debtors are authorized to pay all
 prepetition and postpetition obligations on account of the Employee Compensation and Benefits Programs (as
 defined in such motion) in the ordinary course of business and continue to administer the Employee Compensation
 and Benefits Programs, including payment of prepetition obligations related thereto. Such Employee Compensation
 and Benefits Programs included health insurance programs and medical plans such as the ASO Agreement. Thus,
 until the Effective Date the Debtors have the authority to pay such Run-Out Claims. To the extent there are Run-Out
 Claims that were incurred before the Petition Date but have not yet been paid, such claimants may submit a Proof of
 Claim. To the extent a Run-Out Claim was incurred from the Petition Date to the Effective Date but has not yet been
 paid, claimants may submit a request for payment of an Administrative Claim.

 G.       Modifications, Amendments, Supplements, Restatements, or Other Agreements

           Unless otherwise provided in the Plan, each Executory Contract or Unexpired Lease that is assumed shall
 include all modifications, amendments, supplements, restatements, or other agreements that in any manner affect
 such Executory Contract or Unexpired Lease, and Executory Contracts and Unexpired Leases related thereto, if any,
 including easements, licenses, permits, rights, privileges, immunities, options, rights of first refusal, and any other
 interests, unless any of the foregoing agreements has been previously rejected or repudiated or is rejected or
 repudiated under the Plan.

         Modifications, amendments, supplements, and restatements to prepetition Executory Contracts and
 Unexpired Leases that have been executed by the Debtors during the Chapter 11 Cases shall not be deemed to alter
 the prepetition nature of the Executory Contract or Unexpired Lease, or the validity, priority, or amount of any
 Claims that may arise in connection therewith.

 H.       Reservation of Rights

          Neither the exclusion nor inclusion of any Executory Contract or Unexpired Lease on the Schedule of
 Rejected Executory Contracts and Unexpired Leases or the Schedule of Assumed Executory Contracts and
 Unexpired Leases, nor anything contained in the Plan, shall constitute an admission by the Debtors that any such
 contract or lease is in fact an Executory Contract or Unexpired Lease or that any Debtor or Reorganized Debtor has
 any liability thereunder.

 I.       Nonoccurrence of Effective Date

          In the event that the Effective Date does not occur, the Bankruptcy Court shall retain jurisdiction with
 respect to any request to extend the deadline for assuming or rejecting any Unexpired Leases pursuant to section
 365(d)(4) of the Bankruptcy Code.

                                              ARTICLE VI.
                                  PROVISIONS GOVERNING DISTRIBUTIONS

 A.       Timing and Calculation of Amounts to Be Distributed

            Unless otherwise provided in the Plan, on the Effective Date or as soon as reasonably practicable thereafter
 (or, if a Claim is not an Allowed Claim on the Effective Date, on the date that such Claim becomes Allowed or as
 soon as reasonably practicable thereafter), each Holder of an Allowed Claim or Allowed Interest (or such Holder’s
 affiliate) shall receive the full amount of the distributions that the Plan provides for Allowed Claims and Interests in
 each applicable Class. In the event that any payment or act under the Plan is required to be made or performed on a



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 date that is not a Business Day, then the making of such payment or the performance of such act may be completed
 on the next succeeding Business Day, but shall be deemed to have been completed as of the required date. If and to
 the extent that there are Disputed Claims, distributions on account of any such Disputed Claims shall be made
 pursuant to the provisions set forth in Article VIIIX of the Plan. Except as otherwise provided in the Plan, Holders
 of Claims shall not be entitled to interest, dividends, or accruals on the distributions provided for in the Plan,
 regardless of whether such distributions are delivered on or at any time after the Effective Date.

 B.       Disbursing Agent

          Distributions under the Plan shall be made by the Disbursing Agent. The Disbursing Agent shall not be
 required to give any bond or surety or other security for the performance of its duties unless otherwise ordered by
 the Bankruptcy Court. Additionally, in the event that the Disbursing Agent is so otherwise ordered, all costs and
 expenses of procuring any such bond or surety shall be borne by the Reorganized Debtors.

 C.       Rights and Powers of Disbursing Agent

          1.       Powers of the Disbursing Agent

          The Disbursing Agent shall be empowered to: (a) effect all actions and execute all agreements,
 instruments, and other documents necessary to perform its duties under the Plan; (b) make all distributions
 contemplated hereby; (c) employ professionals to represent it with respect to its responsibilities subject to the Wind-
 Down Budget (as applicable); and (d) exercise such other powers as may be vested in the Disbursing Agent by order
 of the Bankruptcy Court, pursuant to the Plan, or as deemed by the Disbursing Agent to be necessary and proper to
 implement the provisions hereof.

          2.       Expenses Incurred On or After the Effective Date

         Except as otherwise ordered by the Bankruptcy Court, the amount of any reasonable fees and out-of-pocket
 expenses incurred by the Disbursing Agent on or after the Effective Date (including taxes) and any reasonable
 compensation and out of pocket expense reimbursement claims (including reasonable attorney fees and expenses)
 made by the Disbursing Agent shall be paid in Cash by the Reorganized Debtors to the extent such fees and
 expenses are set forth in the Wind-Down Budget (as applicable).

 D.       Delivery of Distributions and Undeliverable or Unclaimed Distributions

          1.       Record Date for Distribution.

           On the Distribution Record Date, the Claims Register shall be closed and any party responsible for making
 distributions shall instead be authorized and entitled to recognize only those record holders listed on the Claims
 Register as of the close of business on the Distribution Record Date.

          2.       Delivery of Distributions

          Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims, except as otherwise
 provided in this Article VI, or Interests shall be made to Holders of record as of the Distribution Record Date by the
 Disbursing Agent: (a) to the signatory set forth on any of the Proof of Claim Filed by such Holder or other
 representative identified therein (or at the last known addresses of such Holder if no Proof of Claim is Filed or if the
 Debtors have been notified in writing of a change of address); (b) at the addresses set forth in any written notices of
 address changes delivered to the Disbursing Agent after the date of any related Proof of Claim; (c) at the addresses
 reflected in the Schedules if no Proof of Claim has been Filed and the Reorganized Debtors have not received a
 written notice of a change of address; or (d) on any counsel that has appeared in the Chapter 11 Cases on such
 Holder’s behalf. Subject to this Article VI, distributions under the Plan on account of Allowed Claims shall not be
 subject to levy, garnishment, attachment, or like legal process, so that each Holder of an Allowed Claim shall have
 and receive the benefit of the distributions in the manner set forth in the Plan. The Debtors, the Disbursing Agent,




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 the Reorganized Debtors, or the Plan Administrator, as applicable, shall not incur any liability whatsoever on
 account of any distributions under the Plan except for gross negligence or willful misconduct.

          3.       Minimum Distributions

          Holders of Allowed Claims entitled to distributions of $100 (whether Cash or otherwise) or less shall not
 receive distributions, and each such Claim shall be discharged pursuant to Article VIII and its Holder is forever
 barred pursuant to Article VIII from asserting that Claim against the Debtors, the Reorganized Debtors or the Plan
 Administrator, as applicable, or their property.

          4.       Undeliverable Distributions and Unclaimed Property

          In the event that any distribution to any Holder is returned as undeliverable, no distribution to such Holder
 shall be made unless and until the Disbursing Agent has determined the then-current address of such Holder, at
 which time such distribution shall be made to such Holder without interest; provided that such distributions shall be
 deemed unclaimed property under section 347(b) of the Bankruptcy Code at the expiration of six months from the
 Effective Date. After such date, all unclaimed property or interests in property shall revert to the applicable
 Reorganized Debtor, without need for a further order by the Bankruptcy Court (notwithstanding any applicable
 federal or state escheat, abandoned, or unclaimed property laws to the contrary), and the Claim of any Holder to
 such property or Interest in property shall be discharged and forever barred.

 E.       Manner of Payment.

          Unless otherwise set forth herein, all distributions of Cash to the Holders of Allowed Claims under the Plan
 shall be made by the Disbursing Agent. At the option of the Disbursing Agent, any Cash payment to be made under
 the Plan may be made by check or wire transfer or as otherwise required or provided in applicable agreements.

 F.       Tax Issues and Compliance with Tax Requirements

           In connection with the Plan, to the extent applicable, the Reorganized Debtors or the Plan Administrator, as
 applicable, shall comply with all tax withholding and reporting requirements imposed on them by any Governmental
 Unit, and all distributions pursuant to the Plan shall be subject to such withholding and reporting requirements.
 Notwithstanding any provision in the Plan to the contrary, the Reorganized Debtors or the Plan Administrator, as
 applicable, shall be authorized to take all actions necessary or appropriate to comply with such withholding and
 reporting requirements, including liquidating a portion of the distribution to be made under the Plan to generate
 sufficient funds to pay applicable withholding taxes, withholding distributions pending receipt of information
 necessary to facilitate such distributions, or establishing any other mechanisms they believe are reasonable and
 appropriate. The Reorganized Debtors or the Plan Administrator, as applicable, reserve the right to allocate all
 distributions made under the Plan in compliance with applicable wage garnishments, alimony, child support, and
 other spousal awards, liens, and encumbrances.

 G.       Allocations

          Distributions in respect of Allowed Claims shall be allocated first to the principal amount of such Claims
 (as determined for federal income tax purposes) and then, to the extent the consideration exceeds the principal
 amount of the Claims, to any portion of such Claims for accrued but unpaid interest as Allowed herein.

 H.       No Postpetition Interest on Claims

         Unless otherwise specifically provided for in an order of the Bankruptcy Court, the Plan, or the
 Confirmation Order, or required by applicable bankruptcy law, postpetition interest shall not accrue or be paid on
 any Claims and no Holder of a Claim shall be entitled to interest accruing on or after the Petition Date on any such
 Claim; provided that interest may accrue on the Prepetition ABL Claims, the DIP Claims and Term Loan Secured
 Claims in accordance with the terms of the DIP Agreement and Financing Orders until paid in full in Cash or
 otherwise satisfied with the consent of the Holder of such Claim.



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 I.       Setoffs and Recoupment

          The Debtors or the Reorganized Debtors, as applicable, may, but shall not be required to, set off against or
 recoup any payments or distributions to be made pursuant to the Plan in respect of any Claims of any nature
 whatsoever that the Debtors or the Reorganized Debtors may have against the claimant, but neither the failure to do
 so nor the allowance of any Claim hereunder shall constitute a waiver or release by the Debtors, the Reorganized
 Debtors, or their successors of any such Claim it may have against the Holder of such Claim.

 J.       Claims Paid or Payable by Third Parties

          1.       Claims Paid by Third Parties

           To the extent that the Holder of an Allowed Claim receives payment in full on account of such Claim from
 a party that is not a Debtor or Reorganized Debtor, such Claim shall be Disallowed without an objection having to
 be Filed and without any further notice to, or action, order, or approval of, the Bankruptcy Court. To the extent a
 Holder of a Claim receives a distribution on account of such Claim and receives payment from a party that is not a
 Debtor or Reorganized Debtors on account of such Claim, such Holder shall, within 14 days of receipt thereof, repay
 or return the distribution to the applicable Debtor or Reorganized Debtor, to the extent the Holder’s total recovery on
 account of such Claim from the third party and under the Plan exceeds the amount of such Claim as of the date of
 any such distribution under the Plan. The failure of such Holder to timely repay or return such distribution shall
 result in the Holder owing the applicable Debtor annualized interest at the Federal Judgment Rate on such amount
 owed for each Business Day after the 14-day grace period specified above until the amount is repaid.

          2.       Claims Payable by Third Parties

           No distributions under the Plan shall be made on account of an Allowed Claim that is payable pursuant to
 one of the Debtors’ insurance policies until the Holder of such Allowed Claim has exhausted all remedies with
 respect to such insurance policy. To the extent that one or more of the Debtors’ insurers agrees to satisfy in full or
 in part a Claim (if and to the extent adjudicated by a court of competent jurisdiction), then immediately upon such
 insurers’ agreement, the applicable portion of such Claim may be expunged without a Claims objection having to be
 Filed and without any further notice to, or action, order, or approval of, the Bankruptcy Court.

          3.       Applicability of Insurance Policies

          Except as otherwise provided in the Plan, distributions to Holders of Allowed Claims shall be in
 accordance with the provisions of any applicable insurance policy. Notwithstanding anything herein to the contrary,
 nothing shall constitute or be deemed a release, settlement, satisfaction, compromise, or waiver of any Cause of
 Action that the Debtors or any other Entity may hold against any other Entity, including insurers under any policies
 of insurance or applicable indemnity, nor shall anything contained herein constitute or be deemed a waiver by such
 insurers of any defenses, including coverage defenses, held by such insurers.

                                                ARTICLE VII.
                                          THE PLAN ADMINISTRATOR

 A.       The Plan Administrator

          The powers of the Plan Administrator shall include any and all powers and authority to implement the Plan
 and to administer and distribute the Distribution Reserve Accounts and wind down the business and affairs of the
 Debtors and the Reorganized Debtors, including: (1) liquidating, receiving, holding, investing, supervising, and
 protecting the assets of the Reorganized Debtor in accordance with the Wind-Down Milestones, Wind-Down
 Budget, including overseeing the Store Closing GOB Sales in accordance with the Store Closing Liquidation
 Agreement and Store Closing GOB Sales Order (as each such term is defined in the DIP Agreement); (2) taking all
 steps to execute all instruments and documents necessary to effectuate the distributions to be made under the Plan
 from the Distribution Reserve Accounts in accordance with the Wind-Down Budget; (3) making distributions from
 the Distribution Reserve Accounts as contemplated under the Plan; (4) establishing and maintaining bank accounts



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 in the name of the Reorganized Debtors; (5) subject to the terms set forth herein, employing, retaining, terminating,
 or replacing professionals to represent it with respect to its responsibilities or otherwise effectuating the Plan to the
 extent necessary; (6) paying all reasonable fees, expenses, debts, charges, and liabilities of the Reorganized Debtors;
 (7) administering and paying taxes of the Reorganized Debtors, including filing tax returns; (8) representing the
 interests of the Reorganized Debtors or the Estates before any taxing authority in all matters, including any action,
 suit, proceeding, or audit; and (9) exercising such other powers as may be vested in it pursuant to order of the
 Bankruptcy Court or pursuant to the Plan, or as it reasonably deems to be necessary and proper to carry out the
 provisions of the Plan, in each case of the forgoing clauses (1-9) strictly in accordance with the Wind-Down
 Milestones and Wind-Down Budget. The Plan Administrator shall provide the Credit Agreement Primary Agent
 with all non-privileged budgets, records, projections, financial information, reports and other information that the
 Credit Agreement Primary Agent (or its consultants and advisors) may reasonably request.

          The Plan Administrator may resign at any time upon 30 days’ written notice delivered to the Bankruptcy
 Court; provided that such resignation shall only become effective upon the appointment of a permanent or interim
 successor Plan Administrator (which shall be acceptable to the Credit Agreement Primary Agent). Upon its
 appointment, the successor Plan Administrator, without any further act, shall become fully vested with all of the
 rights, powers, duties, and obligations of its predecessor and all responsibilities of the predecessor Plan
 Administrator relating to the Reorganized Debtors shall be terminated.

          1.       Plan Administrator Rights and Powers

          The Plan Administrator shall retain and have all the rights, powers, and duties necessary to carry out his or
 her responsibilities under this Plan in accordance with the Wind-Down Milestones and Wind-Down Budget, and as
 otherwise provided in the Confirmation Order. The Plan Administrator shall be the exclusive trustee of the assets of
 the Reorganized Debtors for the purposes of 31 U.S.C. § 3713(b) and 26 U.S.C. § 6012(b)(3), as well as the
 representative of the Estates appointed pursuant to section 1123(b)(3)(B) of the Bankruptcy Code.

          2.       Wind-Down Budget

          The Debtors shall include in the Plan Supplement, in form and substance satisfactory to Credit Agreement
 Primary Agent, a 13-week statement of cash receipts and disbursements (which shall include the funding of the
 Distribution Reserve Accounts, as applicable, and the Professional Fee Escrow Account) and amount of Term Loan
 Secured Claims outstanding for the consecutive 13 weeks immediately following the Effective Date, setting forth on
 a weekly basis, the anticipated uses of the Distribution Proceeds (the “Wind-Down Budget”, as may be updated,
 amended or modified from time to time with the written consent of the Credit Agreement Primary Agent). The
 Wind-Down Budget shall be filed with the Plan Supplement; provided that the Wind-Down Budget and Wind-Down
 Milestones shall be of no further force and effect upon the DIP Claims and the Term Loan Secured Claims being
 Satisfied in accordance with Article II.C and Article III.B.3 hereof.

          3.       Retention of Professionals

                    a.       The Plan Administrator shall have the right, subject to the Wind-Down Budget, to retain
 the services of attorneys, accountants, and other professionals that, in the discretion of the Plan Administrator, are
 necessary to assist the Plan Administrator in the performance of his or her duties. The reasonable fees and expenses
 of such professionals shall be paid by the Reorganized Debtors from the Wind-Down Reserve upon the monthly
 submission of statements to the Plan Administrator to the extent set forth in the Wind-Down Budget. The payment
 of the reasonable fees and expenses of the Plan Administrator’s retained professionals shall be made in the ordinary
 course of business from the Wind-Down Reserve and shall not be subject to the approval of the Bankruptcy Court.

                    b.       Until all Term Loan Secured Claims are paid or otherwise satisfied in full, the Credit
 Agreement Primary Agent shall have the right to retain the services of attorneys, accountants, and other
 professionals that, in the discretion of the Credit Agreement Primary Agent, are necessary or desirable to assist the
 Credit Agreement Primary Agent. The fees and expenses of such professionals shall be paid by the Reorganized
 Debtors from the Distribution Proceeds within five business days of submission of statements to the Plan
 Administrator. The payment of the reasonable fees and expenses of the Credit Agreement Primary Agent’s retained



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 professionals shall be made in the ordinary course of business from the Distribution Proceeds and shall not be
 subject to the approval of the Bankruptcy Court.

          4.       Compensation of the Plan Administrator

          The Plan Administrator’s compensation, on a post-Effective Date basis, shall be as described in the Plan
 Supplement and paid out of the Wind-Down Reserve. Except as otherwise ordered by the Bankruptcy Court, the
 fees and expenses incurred by the Plan Administrator on or after the Effective Date (including taxes) and any
 reasonable compensation and expense reimbursement Claims (including attorney fees and expenses) made by the
 Plan Administrator in connection with such Plan Administrator’s duties shall be paid without any further notice to,
 or action, order, or approval of, the Bankruptcy Court in Cash from the Wind-Down Reserve if such amounts relate
 to any actions taken hereunder.

          5.       Plan Administrator Expenses

          All costs, expenses, and obligations incurred by the Plan Administrator in administering this Plan, the
 Reorganized Debtors, or in any manner connected, incidental, or related thereto, in effecting distributions from the
 Reorganized Debtors thereunder (including the reimbursement of reasonable expenses) shall be incurred and paid in
 accordance with the Wind-Down Budget. Such costs, expenses, and obligations shall be paid from the Wind-Down
 Reserve.

          The Debtors and the Plan Administrator, as applicable, shall not be required to give any bond or surety or
 other security for the performance of its duties unless otherwise ordered by the Bankruptcy Court. However, in the
 event that the Plan Administrator is so ordered after the Effective Date, all costs and expenses of procuring any such
 bond or surety shall be paid for with Cash from the Wind-Down Reserve.

 B.       Wind Down

         On and after the Effective Date, the Plan Administrator will be authorized and directed to implement the
 Plan and any applicable orders of the Bankruptcy Court in accordance with the Wind-Down Milestones and Wind-
 Down Budget, and the Plan Administrator shall have the power and authority to take any action necessary to wind
 down and dissolve the Debtors’ Estates in accordance with the Wind-Down Milestones and Wind-Down Budget.

          As soon as practicable after the Effective Date, the Plan Administrator shall: (1) cause the Debtors and the
 Reorganized Debtors, as applicable, to comply with, and abide by, the terms of the Asset Purchase Agreement and
 any other documents contemplated thereby; (2) to the extent applicable, file a certificate of dissolution or equivalent
 document, together with all other necessary corporate and company documents, to effect the dissolution of the
 Debtors under the applicable laws of their state of incorporation or formation (as applicable); and (3) take such other
 actions in accordance with the Wind-Down Milestones and Wind-Down Budget as the Plan Administrator may
 determine to be necessary or desirable to carry out the purposes of the Plan. Any certificate of dissolution or
 equivalent document may be executed by the Plan Administrator without need for any action or approval by the
 shareholders or board of directors or managers of any Debtor. From and after the Effective Date, except with
 respect to the Reorganized Debtors as set forth herein, the Debtors (1) for all purposes shall be deemed to have
 withdrawn their business operations from any state in which the Debtors were previously conducting, or are
 registered or licensed to conduct, their business operations, and shall not be required to file any document, pay any
 sum, or take any other action in order to effectuate such withdrawal, (2) shall be deemed to have canceled pursuant
 to this Plan all Interests, and (3) shall not be liable in any manner to any taxing authority for franchise, business,
 license, or similar taxes accruing on or after the Effective Date. Notwithstanding the Debtors’ dissolution, the
 Debtors shall be deemed to remain intact solely with respect to the preparation, filing, review, and resolution of
 applications for Professional Fee Claims.

          The filing of the final monthly report (for the month in which the Effective Date occurs) and all subsequent
 quarterly reports shall be the responsibility of the Plan Administrator.




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           Notwithstanding anything to the contrary set forth in this Plan, the Plan Supplement, the Disclosure
 Statement or otherwise, at all times on and after the Confirmation Date through the date on which the Term Loan
 Secured Claims are Satisfied in accordance with Article III.B.3 hereof, (i) the Debtors, the Reorganized Debtors, and
 the Plan Administrator shall maintain the cash management system of the Debtors (including all deposit accounts, as
 in effect immediately prior to the Confirmation Date, in all respects unless otherwise agreed in writing by the Credit
 Agreement Primary Agent); and (ii) assume, ratify, and reaffirm all agreements (including all deposit account
 control agreements) related to the deposit accounts of the Debtors, Reorganized Debtors, and Plan Administrator.

 C.       Exculpation, Indemnification, Insurance and Liability Limitation

          The Plan Administrator and all professionals retained by the Plan Administrator, each in their capacities as
 such, shall be deemed exculpated and indemnified, except for fraud, willful misconduct, or gross negligence, in all
 respects by the Reorganized Debtors. The Plan Administrator may obtain, at the expense of the Reorganized
 Debtors and with funds from the Wind-Down Reserve, commercially reasonable liability or other appropriate
 insurance with respect to the indemnification obligations of the Reorganized Debtors. The Plan Administrator may
 rely upon written information previously generated by the Debtors.

          Notwithstanding anything to the contrary contained herein, the Plan Administrator in its capacity as such,
 shall have no liability whatsoever to any party for the liabilities and/or obligations, however created, whether direct
 or indirect, in tort, contract, or otherwise, of the Debtors.

 D.       Tax Returns

           After the Effective Date, the Plan Administrator shall complete and file all final or otherwise required
 federal, state, and local tax returns for each of the Debtors, and, pursuant to section 505(b) of the Bankruptcy Code,
 may request an expedited determination of any unpaid tax liability of such Debtor or its Estate for any tax incurred
 during the administration of such Debtor’s Chapter 11 Case, as determined under applicable tax laws.

 E.       Dissolution of the Reorganized Debtors

          Upon a certification to be Filed with the Bankruptcy Court by the Plan Administrator of all distributions
 having been made and completion of all its duties under the Plan and entry of a final decree closing the last of the
 Chapter 11 Cases, the Reorganized Debtors shall be deemed to be dissolved without any further action by the
 Reorganized Debtors, including the filing of any documents with the secretary of state for the state in which the
 Reorganized Debtors is formed or any other jurisdiction. The Plan Administrator, however, shall have authority to
 take all necessary actions to dissolve the Reorganized Debtors in and withdraw the Reorganized Debtors from
 applicable state(s).

                                          ARTICLE VIII.
                        RESERVES ADMINISTERED BY THE PLAN ADMINISTRATOR

 A.       Establishment of Reserve Accounts

          The Plan Administrator shall establish each of the Distribution Reserve Accounts (which may be affected
 by either establishing a segregated account at an institution acceptable to Wells Fargo Bank, N.A. or establishing
 book entry accounts, in the sole discretion of the Plan Administrator).

 B.       Undeliverable Distribution Reserve

          1.       Deposits

           If a distribution to any Holder of an Allowed Claim is returned to the Plan Administrator as undeliverable
 or is otherwise unclaimed, such distribution shall be deposited in a segregated, interest-bearing account, designated
 as an “Undeliverable Distribution Reserve,” for the benefit of such Holder until such time as such distribution
 becomes deliverable, is claimed or is deemed to have been forfeited in accordance with Article VI.D.4 of the Plan.



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          2.       Forfeiture

          Any Holder of an Allowed Claim that does not assert a Claim pursuant to the Plan for an undeliverable or
 unclaimed distribution within three months after the first distribution is made to such Holder shall be deemed to
 have forfeited its claim for such undeliverable or unclaimed distribution and shall be forever barred and enjoined
 from asserting any such claim for the undeliverable or unclaimed distribution against any Debtor, any Estate, the
 Plan Administrator, the Reorganized Debtors, or their respective properties or assets. In such cases, any Cash or
 other property held by the Reorganized Debtors in the Undeliverable Distribution Reserve for distribution on
 account of such claims for undeliverable or unclaimed distributions, including the interest that has accrued on such
 undeliverable or unclaimed distribution while in the Undeliverable Distribution Reserve, shall become the property
 of the Reorganized Debtors, notwithstanding any federal or state escheat laws to the contrary, and shall promptly be
 transferred to the General Account to be distributed according to the priority set forth in Article VIII.H without any
 further action or order of the Bankruptcy Court; provided that any undeliverable or unclaimed distribution on
 account of an Allowed General Unsecured Claim shall be transferred to the GUC Asset Sale Reserve.

          3.       Disclaimer

           The Plan Administrator and his or her respective agents and attorneys are under no duty to take any action
 to either (i) attempt to locate any Claim Holder or (ii) obtain an executed Internal Revenue Service Form W-9 from
 any Claim Holder; provided that, in his or her sole discretion, the Plan Administrator may periodically publish
 notice of unclaimed distributions.

          4.       Distribution from Reserve

           Within 15 Business Days after the Holder of an Allowed Claim satisfies the requirements of the Plan such
 that the distribution(s) attributable to its Claim is no longer an undeliverable or unclaimed distribution or such other
 time as the Plan Administrator determines (provided that satisfaction occurs within the time limits set forth in
 Article VI.D.4 of the Plan), the Plan Administrator shall distribute out of the Undeliverable Distribution Reserve the
 amount of the undeliverable or unclaimed distribution attributable to such Claim, including the interest that has
 accrued on such undeliverable or unclaimed distribution while in the Undeliverable Distribution Reserve, to the
 General Account.

 C.       Wind-Down Reserve

          Following payment in full of all Prepetition ABL Claims, DIP Claims, and Term Loan Secured Claims as
 set forth in Article II.C and Article III.B., the Plan Administrator shall establish the Wind-Down Reserve by
 depositing Cash, in accordance with the Wind-Down Budget, in the amount of the Wind-Down Amount into the
 Wind-Down Reserve. The Wind-Down Reserve shall be used by the Plan Administrator solely to satisfy the
 expenses of the Reorganized Debtors and the Plan Administrator as set forth in the Plan and Wind-Down Budget;
 provided that all costs and expenses associated with the winding up of the Reorganized Debtors and the storage of
 records and documents shall constitute expenses of the Reorganized Debtors and shall be paid from the Wind-Down
 Reserve to the extent set forth in the Wind-Down Budget. In no event shall the Plan Administrator be required or
 permitted to use its personal funds or assets for such purposes. Any amounts remaining in the Wind-Down Reserve
 after payment of all expenses of the Reorganized Debtors and the Plan Administrator shall promptly be transferred
 to the General Account and shall be distributed according to the priority set forth in Article VIII.H without any
 further action or order of the Bankruptcy Court.

 D.       Other Secured Claims Reserve

           Following payment in full of all Prepetition ABL Claims, DIP Claims, and Term Loan Secured Claims as
 set forth in Article II.C and Article III.B., and after funding of the Wind-Down Reserve, the Plan Administrator shall
 establish the Other Secured Claims Reserve by depositing Cash, in accordance with the Wind-Down Budget, in the
 amount of the Other Secured Claims Reserve Amount into the Other Secured Claims Reserve. The Other Secured
 Claims Reserve Amount shall be used to pay Allowed Other Secured Claims in accordance with the Wind-Down
 Budget. If all or any portion of an Other Secured Claim shall become a Disallowed Claim, then the amount on



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 deposit in the Other Secured Claims Reserve attributable to such surplus or such Disallowed Claim, including the
 interest that has accrued on said amount while on deposit in the Other Secured Claims Reserve, shall remain in the
 Other Secured Claims Reserve to the extent that the Plan Administrator determines necessary to ensure that the Cash
 remaining in the Other Secured Claims Reserve is sufficient to ensure that all Allowed Other Secured Claims will be
 paid in accordance with the Plan, and shall otherwise promptly be transferred to the General Account to be
 distributed in accordance with the Plan without any further action or order of the Bankruptcy Court. Any amounts
 remaining in the Other Secured Claims Reserve after satisfaction of all Allowed Other Secured Claims shall
 promptly be transferred to the General Account and shall be distributed according to the priority set forth in Article
 VIII.H without any further action or order of the Bankruptcy Court.

 E.       Administrative Claims Reserve

          Following payment in full of all Prepetition ABL Claims, DIP Claims, and Term Loan Secured Claims as
 set forth in Article II.C and Article III.B., and after funding of the Wind-Down Reserve and the Other Secured
 Claims Reserve, the Plan Administrator shall establish the Administrative Claims Reserve by depositing Cash up to
 the amount of the Administrative Claims Reserve Amount into the Administrative Claims Reserve in accordance
 with the Wind-Down Budget. The Administrative Claims Reserve shall be used to pay Holders of all Allowed
 Administrative Claims (excluding Professional Fee Claims and DIP Claims) their respective Pro Rata share of the
 Administrative Claims Reserve, to the extent that such Allowed Administrative Claims have not been paid in full on
 or before the Effective Date. If all or any portion of an Administrative Claims shall become a Disallowed Claim,
 then the amount on deposit in the Administrative Claims Reserve attributable to such surplus or such Disallowed
 Claim, including the interest that has accrued on said amount while on deposit in the Administrative Claims
 Reserve, shall remain in the Administrative Claims Reserve to the extent that the Plan Administrator determines
 necessary to ensure that the Cash remaining in the Administrative Claims Reserve is sufficient to ensure that all
 Allowed Administrative Claims will be paid in accordance with the Plan, and shall otherwise promptly be
 transferred to the General Account to be distributed in accordance with the Plan without any further action or order
 of the Bankruptcy Court. Any amounts remaining in the Administrative Claims Reserve after payment of all
 Allowed Administrative Claims (excluding Professional Fee Claims and DIP Claims) shall promptly be transferred
 to the General Account and shall be allocated in accordance with Article VIII.I. without any further action or order
 of the Bankruptcy Court.

 F.       Priority Claims Reserve

           Following payment in full of all Prepetition ABL Claims, DIP Claims, and Term Loan Secured Claims as
 set forth in Article II.C and Article III.B., and after funding of the Wind-Down Reserve, the Other Secured Claims
 Reserve and the Administrative Claims Reserve, the Plan Administrator shall establish the Priority Claims Reserve
 by depositing Cash up to the amount of the Priority Claims Reserve Amount into the Priority Claims Reserve in
 accordance with the Wind-Down Budget. The Priority Claims Reserve shall be used to pay Holders of all Allowed
 Priority Claims their respective Pro Rata share of the Priority Claims Reserve pursuant to the priorities set forth in
 section 507 of the Bankruptcy Code, to the extent that such Allowed Priority Claims have not been paid in full on or
 before the Effective Date. If all or any portion of a Priority Claim shall become a Disallowed Claim, then the
 amount on deposit in the Priority Claims Reserve attributable to such surplus or such Disallowed Claim, including
 the interest that has accrued on said amount while on deposit in the Priority Claims Reserve, shall remain in the
 Priority Claims Reserve to the extent that the Plan Administrator determines necessary to ensure that the Cash
 remaining in the Priority Claims Reserve is sufficient to ensure that all Allowed Priority Claims will be paid in
 accordance with the Plan, and shall otherwise promptly be transferred to the General Account to be distributed in
 accordance with the Plan without any further action or order of the Bankruptcy Court. Any amounts remaining in
 the Priority Claims Reserve after payment of all Allowed Priority Claims shall promptly be transferred to the
 General Account and shall be distributed according to the priority set forth in Article VIII.H without any further
 action or order of the Bankruptcy Court.

 G.       GUC Asset Sale Reserve

          Following payment in full of all Prepetition ABL Claims, DIP Claims, and Term Loan Secured Claims as
 set forth in Article II.C and Article III.B., and after funding the Wind-Down Reserve, the Other Secured Claims
 Reserve, the Administrative Claims Reserve and the Priority Claims Reserve, the Plan Administrator shall establish


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 and thereafter maintain the GUC Asset Sale Reserve in a separate, segregated account by depositing the Distribution
 Proceeds allocated to General Unsecured Claims, pursuant to the priority set forth in Article VIII.H, into the GUC
 Asset Sale Reserve. The GUC Asset Sale Reserve shall be used to pay Allowed General Unsecured Claims on a Pro
 Rata basis, provided that the Plan Administrator may, in his sole discretion, donate the funds in the GUC Asset Sale
 Reserve to a suitable charitable organization (for example, the American Bankruptcy Institute Endowment Fund,
 CARE, or similar organization) without any further action or order of the Bankruptcy Court if distribution of the
 funds to Holders of Allowed General Unsecured Claims on a Pro Rata basis is not feasible.

 H.       Distribution Proceeds/Priority Waterfall

           After the funding of the Professional Fee Escrow Account, the Plan Administrator shall deliver to the
 Credit Agreement Primary Agent, on a daily basis, all Distribution Proceeds available for distribution from time to
 time to the Holders of Allowed DIP Claims until such claims are Satisfied in accordance with Article II.A hereof.

          After the DIP Claims have been paid in full, the Plan Administrator shall deliver to the Credit Agreement
 Primary Agent, on a daily basis, all Distribution Proceeds available for distribution from time to time to the Holders
 of Allowed Term Loan Secured Claims in accordance with Article III.B.3 hereof, to be paid on account of and
 pursuant to the priority set forth in the Credit Agreement.

           After the Term Loan Secured Claims have been Satisfied pursuant to Article III.B.3. hereof and the priority
 set forth in the Credit Agreement, the delivery of a payoff letter in form and substance reasonably acceptable to the
 Credit Agreement Primary Agent, and the funding of the Wind-Down Reserve, to the extent there are sufficient
 funds in any applicable Distribution Reserve Account to make a distribution, funds shall be allocated and paid to the
 applicable Holders of Allowed Claims from such Distribution Account (in each case on a Pro Rata basis) until paid
 in full from time to time. The Distribution Reserve Accounts shall be funded to pay Claims in the following
 priority: (i) first, on account of the Other Secured Claims, (ii) second, on account of all Allowed Administrative
 Claims; (ii) third, on account of all Allowed Priority Claims, and (iii) fourth, on account of any Allowed General
 Unsecured Claims, subject to the provisions of Article VIII.G.

          Notwithstanding anything to the contrary in this Plan or otherwise, no Claim (other than Claims paid from
 the Professional Fee Escrow Account) shall be paid and none of the Distribution Reserve Accounts shall be funded
 by the Debtors, Reorganized Debtors, or Plan Administrator prior to the DIP Claims and Term Loan Secured Claims
 being Satisfied as set forth in Article II.A and Article III.B.3 of this Plan.

 I.       The General Account and Distribution Reserve Account Adjustments

           The Plan Administrator shall determine the amount of Cash required to adequately maintain each of the
 Distribution Reserve Accounts (other than the GUC Asset Sale Reserve). Other than with respect to amounts held in
 the GUC Asset Sale Reserve, if after making and giving effect to any determination referred to in the immediately
 preceding sentence, the Plan Administrator determines that any Distribution Reserve Account (i) does not contain
 Cash in an amount sufficient to adequately maintain such Distribution Reserve Account (other than the GUC Asset
 Sale Reserve), then at any such time the Plan Administrator, with the prior consent of the Credit Agreement Primary
 Agent (which consent shall be required only until the DIP Claims and the Term Loan Secured Claims have been
 paid in full or otherwise satisfied), shall transfer Cash from the General Account, to the extent Cash is available in
 the General Account until the deficit in such Distribution Reserve Account is eliminated, or (ii) contains Cash in an
 amount in excess of the amount then required to adequately maintain such Distribution Reserve Account, then at any
 such time the Plan Administrator shall transfer such surplus Cash to the General Account to be used or distributed
 according to the priority set forth in this Article VIII.I. Any funds in the General Account not needed to eliminate a
 Distribution Reserve Account deficit shall be allocated and paid in the following priority (in each case on a Pro Rata
 basis): (u) first, on account of the DIP Claims that have not yet been paid in full; (v) second, on account of the
 Allowed Term Loan Secured Claims (up to the amount of the Term Loan Secured Claim Recovery Amount)
 pursuant to the priority set forth in the Credit Agreement; (w) third, on account of all Other Secured Claims, (x)
 fourth, on account of all Allowed Administrative Claims; (y) fifth, on account of the Allowed Priority Claims, and
 (z) sixth, on account of all Allowed General Unsecured Claims.




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         Notwithstanding anything foregoing or in the Plan to the contrary, the Plan Administrator may, after the
 Term Loan Secured Claims have been Satisfied in accordance with Article III.B.3 hereof, transfer Cash from the
 General Account or from any Distribution Reserve Account to the Wind-Down Reserve to fund wind-down
 expenses pursuant to any amended or modified Wind-Down Budget or as otherwise necessary or appropriate.

                                             ARTICLE IX.
                                PROCEDURES FOR RESOLVING CONTINGENT,
                                  UNLIQUIDATED, AND DISPUTED CLAIMS

 A.       Allowance of Claims

          After the Effective Date, each of the Reorganized Debtors or the Plan Administrator, as applicable, shall
 have and retain any and all rights and defenses the applicable Debtor had with respect to any Claim immediately
 before the Effective Date. Except as expressly provided in the Plan or in any order entered in the Chapter 11 Cases
 before the Effective Date (including the Confirmation Order), no Claim shall become an Allowed Claim unless and
 until such Claim is deemed Allowed under the Plan or the Bankruptcy Code, or the Bankruptcy Court has entered a
 Final Order, including the Confirmation Order (when it becomes a Final Order), in the Chapter 11 Cases allowing
 such Claim.

 B.       Claims Administration Responsibilities

           Except as otherwise specifically provided in the Plan and notwithstanding any requirements that may be
 imposed pursuant to Bankruptcy Rule 9019, after the Effective Date, the Reorganized Debtors or the Plan
 Administrator, as applicable, shall have the sole authority to File and prosecute objections to Claims, and the
 Reorganized Debtors shall have the sole authority to: (1) settle, compromise, withdraw, litigate to judgment, or
 otherwise resolve objections to any and all Claims, regardless of whether such Claims are in a Class or otherwise;
 (2) settle, compromise, or resolve any Disputed Claim without any further notice to or action, order, or approval by
 the Bankruptcy Court; and (3) administer and adjust the Claims Register to reflect any such settlements or
 compromises without any further notice to or action, order, or approval by the Bankruptcy Court. On and after the
 Effective Date, the Reorganized Debtors or the Plan Administrator, as applicable, will use commercially reasonable
 efforts to advance the claims resolution process through estimation or otherwise.

 C.       Estimation of Claims

           Before, on, or after the Effective Date, the Debtors, the Reorganized Debtors, or the Plan Administrator, as
 applicable, may (but are not required to) at any time request that the Bankruptcy Court estimate any Claim pursuant
 to applicable law, including pursuant to section 502(c) of the Bankruptcy Code for any reason, regardless of whether
 any party previously has objected to such Claim or whether the Bankruptcy Court has ruled on any such objection,
 and the Bankruptcy Court shall retain jurisdiction under 28 U.S.C. §§ 157 and 1334 to estimate any such Claim,
 including during the litigation of any objection to any Claim or during the pendency of any appeal relating to such
 objection. Notwithstanding any provision to the contrary in the Plan, a Claim that has been expunged from the
 Claims Register, but that either is subject to appeal or has not been the subject of a Final Order, shall be deemed to
 be estimated at zero dollars, unless otherwise ordered by the Bankruptcy Court. In the event that the Bankruptcy
 Court estimates any Claim, such estimated amount shall constitute a maximum limitation on such Claim for all
 purposes under the Plan (including for purposes of distributions and discharge) and may be used as evidence in any
 supplemental proceedings, and the Debtors, Reorganized Debtors, or the Plan Administrator, as applicable, may
 elect to pursue any supplemental proceedings to object to any ultimate distribution on such Claim. Notwithstanding
 section 502(j) of the Bankruptcy Code, in no event shall any Holder of a Claim that has been estimated pursuant to
 section 502(c) of the Bankruptcy Code or otherwise be entitled to seek reconsideration of such estimation unless
 such Holder has Filed a motion requesting the right to seek such reconsideration on or before seven days after the
 date on which such Claim is estimated. Each of the foregoing Claims and objection, estimation, and resolution
 procedures are cumulative and not exclusive of one another. Claims may be estimated and subsequently
 compromised, settled, withdrawn, or resolved by any mechanism approved by the Bankruptcy Court.




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 D.       Adjustment to Claims Without Objection

          Any Claim that has been paid or satisfied, or any Claim that has been amended or superseded, may be
 adjusted or expunged on the Claims Register by the Debtors, the Reorganized Debtors, or the Plan Administrator, as
 applicable, without an objection having to be Filed and without any further notice to, or action, order, or approval of,
 the Bankruptcy Court.

 E.       Time to File Objections to Claims

          Any objections to Claims shall be Filed on or before the Claims Objection Bar Date.

 F.       Disallowance of Claims

          Any Claims held by Entities from which property is recoverable under sections 542, 543, 550, or 553 of the
 Bankruptcy Code or that is a transferee of a transfer avoidable under sections 522(f), 522(h), 544, 545, 547, 548,
 549, or 724(a) of the Bankruptcy Code, shall be deemed Disallowed pursuant to section 502(d) of the Bankruptcy
 Code, and Holders of such Claims may not receive any distributions on account of such Claims until such time as
 such Causes of Action against that Entity have been settled or a Bankruptcy Court order with respect thereto has
 been entered and all sums due, if any, to the Debtors by that Entity have been turned over or paid to the Debtors or
 the Reorganized Debtors or the Plan Administrator, as applicable. All Proofs of Claim Filed on account of an
 indemnification obligation shall be deemed satisfied and expunged from the Claims Register as of the Effective Date
 to the extent such indemnification obligation is assumed (or honored or reaffirmed, as the case may be) pursuant to
 the Plan, without any further notice to, or action, order, or approval of, the Bankruptcy Court.

          Except as otherwise provided herein or as agreed to by the Reorganized Debtors or the Plan
 Administrator, as applicable, any and all Proofs of Claim Filed after the Claims Bar Date shall be deemed
 Disallowed and expunged as of the Effective Date without any further notice to, or action, order, or approval
 of, the Bankruptcy Court, and Holders of such Claims may not receive any distributions on account of such
 Claims, unless such late Proof of Claim has been deemed timely Filed by a Final Order.

 G.       Amendments to Claims

          On or after the Effective Date and except as otherwise provided in the Plan, a Claim may not be Filed or
 amended without the prior authorization of the Bankruptcy Court, the Reorganized Debtors, or the Plan
 Administrator, as applicable, and any such new or amended Claim Filed shall be deemed Disallowed in full and
 expunged without any further notice to, or action, order, or approval of, the Bankruptcy Court to the maximum
 extent provided by applicable law.

 H.       No Distributions Pending Allowance

          If an objection to a Claim or portion thereof is Filed, no payment or distribution provided under the Plan
 shall be made on account of such Claim or portion thereof unless and until such Disputed Claim becomes an
 Allowed Claim, unless otherwise determined by the Reorganized Debtors or the Plan Administrator, as applicable.

 I.       Distributions After Allowance

           To the extent that a Disputed Claim ultimately becomes an Allowed Claim, distributions shall be made to
 the Holder of such Allowed Claim in accordance with the provisions of the Plan. As soon as reasonably practicable
 after the date that the order or judgment of the Bankruptcy Court allowing any Disputed Claim becomes a Final
 Order, the Reorganized Debtors shall provide to the Holder of such Claim the distribution to which such Holder is
 entitled under the Plan as of the Effective Date, less any previous distribution (if any) that was made on account of
 the undisputed portion of such Claim, without any interest, dividends, or accruals to be paid on account of such
 Claim unless required under applicable bankruptcy law or as otherwise provided herein.




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                                         ARTICLE X.
                  SETTLEMENT, RELEASE, INJUNCTION, AND RELATED PROVISIONS

 A.       Compromise and Settlement of Claims, Interests, and Controversies

           Pursuant to section 1123 of the Bankruptcy Code and Bankruptcy Rule 9019 and in consideration for the
 distributions and other benefits provided pursuant to the Plan, the provisions of the Plan shall constitute a good-faith
 compromise and settlement of all Claims, Interests, and controversies relating to the Settled Claims, the contractual,
 legal, and subordination rights that a Holder of a Claim or Interest may have, or any distribution to be made on
 account of such Allowed Claim or Allowed Interest. The entry of the Confirmation Order shall constitute the
 Bankruptcy Court’s approval of the compromise or settlement of all Claims, Interests, and controversies, including
 the Settlement, as well as a finding by the Bankruptcy Court that such compromise or settlement is in the best
 interests of the Debtors, their Estates, and Holders of Claims and Interests and is fair, equitable, and reasonable. In
 accordance with the provisions of the Plan, pursuant to Bankruptcy Rule 9019, without any further notice to or
 action, order, or approval of the Bankruptcy Court, after the Effective Date, the Reorganized Debtors or the Plan
 Administrator, as applicable, may compromise and settle any Claims and Causes of Action against other Entities.

           Pursuant to the Settlement, upon the Settlement Effective Date, (a) the Debtors, and each of their respective
 current and former officers, directors, members, managers, principals, employees, agents, advisory board members,
 financial advisors, partners, attorneys, accountants, investment bankers, consultants, representatives, and other
 professionals, each in their capacity as such, shall be deemed released and discharged by each other Releasing Party
 from any and all Settled Claims, and (b) Sun Capital shall be deemed released and discharged by each other
 Releasing Party from the Settled Claims. The Settlement provided for herein, including the payment of the
 Settlement Amount, and the distributions and other benefits provided for under the Plan, including the release of all
 Settled Claims as set forth above, the releases set forth in Article X.D and E and the exculpation set forth in Article
 X.F, shall be in full satisfaction of all Settled Claims, regardless of whether any of the foregoing Settled Claims are
 identified herein or could have been asserted.

          Upon the Settlement Effective Date, the Motion of the Official Committee of Unsecured Creditors for
 Reconsideration of Order Granting Application to Employ Ducera Partners, LLC, as Financial Advisor to Special
 Committee of Independent Directors [Docket No. 447], Motion of the Official Committee of Unsecured Creditors for
 Entry of an Order Authorizing the Committee to Prosecute Certain Claims on Behalf of the Bankruptcy Estates and
 Granting Related Relief [Docket No. 641], Motion for an Order Pursuant to 11 U.S.C. § 1112(b) and 11 U.S.C. §
 105(a) Converting the Debtors’ Chapter 11 Cases to Cases Under Chapter 7 of the Bankruptcy Code [Docket No.
 1152], Objection of the Official Committee of Unsecured Creditors to Debtors’ Motion for Entry of an Order (I)
 Extending the Debtors’ Exclusive Periods to File a Chapter 11 Plan and Solicit Acceptances Thereof Pursuant to
 Section 1121 of the Bankruptcy Code and (II) Granting Related Relief [Docket No. 1155], Official Committee of
 Unsecured Creditors’ (I) Objection to Certain Representations, Covenants, and Waivers In Favor of Prepetition
 ABL and Term Loan Agent Pursuant to Final Financing Order and (II) Objection to the Claims Asserted By the
 Agent and the Lenders Against the Debtors [Docket No. 1221], and Motion of the Official Committee of Unsecured
 Creditors for Entry of an Order Authorizing the Committee to Prosecute Certain Lien Challenge Claims on Behalf
 of the Bankruptcy Estates [Docket No. 1222] shall be deemed withdrawn with prejudice.

 B.       Term of Injunctions or Stays

           Unless otherwise provided in the Plan or the Confirmation Order, all injunctions or stays in effect in the
 Chapter 11 Cases pursuant to sections 105 or 362 of the Bankruptcy Code or any order of the Bankruptcy Court, and
 extant on the Confirmation Date (excluding any injunctions or stays contained in the Plan or the
 Confirmation Order), shall remain in full force and effect until the Effective Date. All injunctions or stays contained
 in the Plan or the Confirmation Order shall remain in full force and effect in accordance with their terms.

 C.       Release of Liens

         Except as otherwise specifically provided in the Plan, or in any contract, instrument, release, or other
 agreement or document created pursuant to the Plan, on the Effective Date and concurrently with the
 applicable distributions made pursuant to the Plan, all mortgages, deeds of trust, Liens, pledges, or other


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 security interests against any property of the Estates shall be fully released and discharged, and all of the
 right, title, and interest of any Holder of such mortgages, deeds of trust, Liens, pledges, or other security
 interests shall revert to the Reorganized Debtors and their successors and assigns, in each case, without any
 further approval or order of the Bankruptcy Court and without any action or Filing being required to be
 made by the Debtors or the Reorganized Debtors, as applicable. Subject to the funding of the Professional
 Fee Escrow Account, all Liens securing the Prepetition ABL Claims, DIP Claims, Term Loan Secured
 Claims, or any other Obligations (as defined in the DIP Agreement) shall continue in full force and effect on
 and after the Effective Date and nothing in this Plan shall or shall be construed to release, discharge, relieve,
 limit or impair in any way the rights of any Holder of a Prepetition ABL Claims, DIP Claims, or Term Loan
 Secured Claims or any Lien securing any such Claim.

 D.      Debtor Release

          Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable consideration, on and
 after the Effective Date, each Released Party is deemed released and discharged by the Debtors, the
 Reorganized Debtors, Plan Administrator, and their Estates from any and all Causes of Action, including any
 derivative claims asserted on behalf of the Debtors, that the Debtors, the Reorganized Debtors, Plan
 Administrator, or their Estates would have been legally entitled to assert in their own right (whether
 individually or collectively) or on behalf of the Holder of any Claim or Interest, or that any Holder of any
 Claim or Interest could have asserted on behalf of the Debtors, based on or relating to, or in any manner
 arising from, in whole or in part:

         (a)      the Debtors, the Debtors’ in- or out-of-court restructuring efforts, intercompany
                  transactions, the formulation, preparation, dissemination, negotiation, or filing of the
                  Restructuring Documents;

         (b)      any Restructuring Document, contract, instrument, release, or other agreement or document
                  (including providing any legal opinion requested by any Entity regarding any transaction,
                  contract, instrument, document, or other agreement contemplated by the Plan or the
                  reliance by any Released Party on the Plan or the Confirmation Order in lieu of such legal
                  opinion) created or entered into in connection with the Disclosure Statement or the Plan;

         (c)      the Chapter 11 Cases, the Disclosure Statement, the Plan, the DIP Agreement, the Asset
                  Purchase Agreement, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the
                  pursuit of Consummation, the administration and implementation of the Plan, including the
                  issuance or distribution of Securities (including the New Shopko Interests) pursuant to the
                  Plan, or the distribution of property under the Plan or any other related agreement; or

         (d)      the business or contractual arrangements between any Debtor and any Released Party, and
                  any other act or omission, transaction, agreement, event, or other occurrence taking place on
                  or before the Effective Date relating to any of the foregoing.

         Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not release
 any post-Effective Date obligations of any party or Entity under the Plan, any Restructuring Document, or
 any document, instrument, or agreement (including those set forth in the Plan Supplement) executed to
 implement the Plan.

          Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
 Bankruptcy Rule 9019, of the releases set forth above, which includes by reference each of the related
 provisions and definitions contained herein, and further, shall constitute the Bankruptcy Court’s finding that
 the releases set forth above are: (1) in exchange for the good and valuable consideration provided by the
 Released Parties; (2) a good faith settlement and compromise of the claims released by the releases set forth
 above; (3) in the best interests of the Debtors and all Holders of Claims and Interests; (4) fair, equitable, and
 reasonable; (5) given and made after reasonable investigation by the Debtors and after notice and
 opportunity for hearing; and (6) a bar to any of the Debtors asserting any claim released by the releases set
 forth above against any of the Released Parties.


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 E.      Release by Holders of Claims or Interests

          Except as otherwise ordered by the Bankruptcy Court on or before Confirmation, as of the Effective
 Date, each Releasing Party is deemed to have released and discharged each other Released Party, including
 the Debtors or Reorganized Debtors, as applicable, from any and all Causes of Action, including any
 derivative claims asserted on behalf of the Debtors, that such Entity would have been legally entitled to assert
 (whether individually or collectively), based on or relating to, or in any manner arising from, in whole or in
 part:

         (a)      the Debtors, the Debtors’ in- or out-of-court restructuring efforts, intercompany
                  transactions, the formulation, preparation, dissemination, negotiation, or filing of the other
                  Restructuring Documents;

         (b)      any Restructuring Document, contract, instrument, release, or other agreement or document
                  (including providing any legal opinion requested by any Entity regarding any transaction,
                  contract, instrument, document, or other agreement contemplated by the Plan or the
                  reliance by any Released Party on the Plan or the Confirmation Order in lieu of such legal
                  opinion) created or entered into in connection with the Disclosure Statement or the Plan;

         (c)      the Chapter 11 Cases, the Disclosure Statement, the Plan, the DIP Agreement, the filing of
                  the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of Consummation, the
                  administration and implementation of the Plan, including the issuance or distribution of
                  Securities pursuant to the Plan, or the distribution of property under the Plan or any other
                  related agreement; or

         (d)      the business or contractual arrangements between any Debtor and any Released Party, and
                  any other act or omission, transaction, agreement, event, or other occurrence taking place on
                  or before the Effective Date relating to any of the foregoing.

         Notwithstanding anything to the contrary in the foregoing, the releases set forth above do not release
 any post-Effective Date obligations of any party or Entity under the Plan, any Restructuring Document, or
 any document, instrument, or agreement (including those set forth in the Plan Supplement) executed to
 implement the Plan.

          Entry of the Confirmation Order shall constitute the Bankruptcy Court’s approval, pursuant to
 Bankruptcy Rule 9019, of the third-party release set forth above, which includes by reference each of the
 related provisions and definitions contained herein, and further, shall constitute the Bankruptcy Court’s
 finding that the third-party release set forth above is: (1) in exchange for the good and valuable
 consideration provided by the Released Parties; (2) a good faith settlement and compromise of the claims
 released by the Releasing Parties; (3) in the best interests of the Debtors and all Holders of Claims and
 Interests; (4) fair, equitable, and reasonable; (5) given and made after notice and opportunity for hearing;
 and (6) a bar to any of the Releasing Parties asserting any Claim released by the third-party release set forth
 above against any of the Released Parties.


 F.      Exculpation

         Except as otherwise specifically provided in the Plan, no Exculpated Party shall have or incur, and
 each Exculpated Party is hereby released and exculpated from any Cause of Action for any claim related to
 any postpetition act or omission in connection with, relating to, or arising out of, the Chapter 11 Cases, the
 Disclosure Statement, the Plan, the DIP Agreement, the Asset Purchase Agreement, or any Restructuring
 Document, contract, instrument, release or other agreement or document (including providing any legal
 opinion requested by any Entity regarding any transaction, contract, instrument, document, or other



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 agreement contemplated by the Plan or the reliance by any Exculpated Party on the Plan or the
 Confirmation Order in lieu of such legal opinion) created or entered into in connection with the Disclosure
 Statement or the Plan, the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of
 Consummation, the administration and implementation of the Plan, including the issuance of Securities
 pursuant to the Plan, or the distribution of property under the Plan or any other related agreement, except
 for claims related to any act or omission that is determined in a final order to have constituted actual fraud,
 willful misconduct, or gross negligence, but in all respects such Entities shall be entitled to reasonably rely
 upon the advice of counsel with respect to their duties and responsibilities pursuant to the Plan. The
 Exculpated Parties have, and upon closing of the Chapter 11 Cases or the Effective Date shall be deemed to
 have, participated in good faith and in compliance with the applicable laws with regard to the solicitation of,
 and distribution of, consideration pursuant to the Plan and, therefore, are not, and on account of such
 distributions shall not be, liable at any time for the violation of any applicable law, rule, or regulation
 governing the solicitation of acceptances or rejections of the Plan or such distributions made pursuant to the
 Plan.

 G.       Injunction

          Except with respect to the obligations arising under the Plan or the Confirmation Order, and except
 as otherwise expressly provided in the Plan or the Confirmation Order, all Entities that held, hold, or may
 hold claims or interests that have been released, discharged, or exculpated pursuant to the Plan, are
 permanently enjoined, from and after the Effective Date, or with respect to the Settlement Parties from and
 after the Settlement Effective Date, from taking any of the following actions against, as applicable, the
 Debtors or Reorganized Debtors, the Settlement Parties, or the other Released Parties: (1) commencing or
 continuing in any manner any action or other proceeding of any kind on account of or in connection with or
 with respect to any such claims or interests; (2) enforcing, attaching, collecting, or recovering by any manner
 or means any judgment, award, decree, or order against such Entities on account of or in connection with or
 with respect to any such claims or interests; (3) creating, perfecting, or enforcing any Lien or encumbrance of
 any kind against such Entities or the property of such Entities on account of or in connection with or with
 respect to any such claims or interests; (4) asserting any right of setoff, subrogation, or recoupment of any
 kind against any obligation due from such Entities or against the property of such Entities on account of or in
 connection with or with respect to any such claims or interests unless such Entity has timely asserted such
 setoff right in a document filed with the Bankruptcy Court explicitly preserving such setoff, and
 notwithstanding an indication of a claim or interest or otherwise that such Entity asserts, has, or intends to
 preserve any right of setoff pursuant to applicable law or otherwise; and (5) commencing or continuing in
 any manner any action or other proceeding of any kind on account of or in connection with or with respect to
 any such claims or interests released or settled pursuant to the Plan.

 H.       Protection Against Discriminatory Treatment

           Consistent with section 525 of the Bankruptcy Code and the Supremacy Clause of the U.S. Constitution, all
 Entities, including Governmental Units, shall not discriminate against the Reorganized Debtors or deny, revoke,
 suspend, or refuse to renew a license, permit, charter, franchise, or other similar grant to, condition such a grant to,
 discriminate with respect to such a grant against, the Reorganized Debtors, or another Entity with whom the
 Reorganized Debtors have been associated, solely because the Debtors have been debtors under chapter 11 of the
 Bankruptcy Code, may have been insolvent before the commencement of the Chapter 11 Cases (or during the
 Chapter 11 Cases), or have not paid a debt that is dischargeable in the Chapter 11 Cases.

 I.       Recoupment

          In no event shall any Holder of a Claim be entitled to recoup against such Claim any claim, right, or Cause
 of Action of the Debtors or the Reorganized Debtors, as applicable, unless such Holder actually has provided notice
 of such recoupment in writing to the Debtors on or before the Confirmation Date, notwithstanding any indication in
 any Proof of Claim or otherwise that such Holder asserts, has, or intends to preserve any right of recoupment.




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 J.       Subordination Rights

          Any distributions under the Plan shall be received and retained free from any obligations to hold or transfer
 the same to any other Holder and shall not be subject to levy, garnishment, attachment, or other legal process by any
 Holder by reason of claimed contractual subordination rights. Any such subordination rights shall be waived, and
 the Confirmation Order shall constitute an injunction enjoining any Entity from enforcing or attempting to enforce
 any contractual, legal, or equitable subordination rights to property distributed under the Plan, in each case other
 than as provided in the Plan.

                                             ARTICLE XI.
                               CONDITIONS PRECEDENT TO CONFIRMATION
                                  AND CONSUMMATION OF THE PLAN

 A.       Conditions Precedent to the Effective Date

          It shall be a condition to Consummation of the Plan that the following conditions shall have been satisfied
 (or waived pursuant to the provisions of Article XI.B hereof):

          1.        all conditions precedent to the effectiveness of the Asset Purchase Agreement, if any, shall have
 been satisfied or duly waived;

        2.      the Confirmation Order shall have been duly entered in form and substance acceptable to Credit
 Agreement Primary Agent and in full force and effect;

          3.       the Settlement Effective Date shall have occurred;

           4.       all DIP Claims, Prepetition ABL Claims, and Term Loan Secured Claims are Satisfied as set forth
 in Article II.C and Article III.B;

          5.       the Debtors shall have obtained all authorizations, consents, regulatory approvals, rulings, or
 documents that are necessary to implement and effectuate the Plan and each of the other transactions contemplated
 by the Restructuring;

          6.       all Allowed Professional Fee Claims approved by the Bankruptcy Court shall have been paid in
 full or amounts sufficient to pay such Allowed Professional Fee Claims after the Effective Date shall have been
 placed in the Professional Fee Escrow Account pending approval of the Professional Fee Claims by the Bankruptcy
 Court; and

          7.       the Debtors shall have implemented the Restructuring Transactions in a manner consistent in all
 material respects with the Plan.

 B.       Waiver of Conditions

           The conditions to Confirmation of the Plan and to the Effective Date of the Plan set forth in this Article XI
 may be waived only by consent of the Debtors and the Credit Agreement Primary Agent without notice, leave, or
 order of the Bankruptcy Court or any formal action other than proceedings to confirm or consummate the Plan.

 C.       Substantial Consummation

          “Substantial Consummation” of the Plan, as defined in 11 U.S.C. § 1101(2), shall be deemed to occur on
 the Effective Date.




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 D.       Effect of Nonoccurrence of Conditions to the Effective Date

          If the Effective Date does not occur, the Plan shall be null and void in all respects and nothing contained in
 the Plan or the Disclosure Statement shall: (1) constitute a waiver or release of any Claims or Interests;
 (2) prejudice in any manner the rights of the Debtors, any Holders of a Claim or Interest, or any other Entity; or
 (3) constitute an admission, acknowledgment, offer, or undertaking by the Debtors, any Holders, or any other Entity
 in any respect.

                                        ARTICLE XII.
                    MODIFICATION, REVOCATION, OR WITHDRAWAL OF THE PLAN

 A.       Modification and Amendments

           Subject to the limitations contained in the Plan, the Debtors reserve the right to modify the Plan and seek
 Confirmation consistent with the Bankruptcy Code and, as appropriate, not resolicit votes on such modified Plan.
 Subject to certain restrictions and requirements set forth in section 1127 of the Bankruptcy Code and Bankruptcy
 Rule 3019 and those restrictions on modifications set forth in the Plan, the Debtors expressly reserve their rights to
 alter, amend, or modify materially the Plan, one or more times, after Confirmation, and, to the extent necessary, may
 initiate proceedings in the Bankruptcy Court to so alter, amend, or modify the Plan, or remedy any defect or
 omission, or reconcile any inconsistencies in the Plan, the Disclosure Statement, or the Confirmation Order, in such
 matters as may be necessary to carry out the purposes and intent of the Plan.

 B.       Effect of Confirmation on Modifications

           Entry of the Confirmation Order shall mean that all modifications or amendments to the Plan occurring
 after the solicitation thereof are approved pursuant to section 1127(a) of the Bankruptcy Code and do not require
 additional disclosure or resolicitation under Bankruptcy Rule 3019.

 C.       Revocation or Withdrawal of the Plan

          The Debtors reserve the right to revoke or withdraw the Plan before the Confirmation Date. If the Debtors
 revoke or withdraw the Plan, or if Confirmation and Consummation does not occur, then: (1) the Plan shall be null
 and void in all respects; (2) any settlement or compromise embodied in the Plan (including the fixing or limiting to
 an amount certain of any Claim or Interest or Class of Claims or Interests), assumption or rejection of Executory
 Contracts or Unexpired Leases effected by the Plan, and any document or agreement executed pursuant to the Plan,
 shall be deemed null and void; and (3) nothing contained in the Plan shall: (i) constitute a waiver or release of any
 Claims or Interests; (ii) prejudice in any manner the rights of the Debtors or any other Entity, including the Holders
 of Claims; or (iii) constitute an admission, acknowledgement, offer, or undertaking of any sort by the Debtors or any
 other Entity.

                                               ARTICLE XIII.
                                         RETENTION OF JURISDICTION

           Notwithstanding the entry of the Confirmation Order and the occurrence of the Effective Date, on and after
 the Effective Date, the Bankruptcy Court shall retain jurisdiction over the Chapter 11 Cases and all matters arising
 out of or related to the Chapter 11 Cases and the Plan, including jurisdiction to:

         1.        allow, disallow, determine, liquidate, classify, estimate, or establish the priority, Secured or
 unsecured status, or amount of any Claim, including the resolution of any request for payment of any Administrative
 Claim and the resolution of any and all objections to the Secured or unsecured status, priority, amount, or allowance
 of Claims;

          2.        decide and resolve all matters related to the granting and denying, in whole or in part, any
 applications for allowance of compensation or reimbursement of expenses to Professionals;




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           3.       resolve any matters related to: (a) the assumption or rejection of any Executory Contract or
 Unexpired Lease and to hear, determine, and, if necessary, liquidate, any Claims arising therefrom, including Claims
 related to the rejection of an Executory Contract or Unexpired Lease, Cure Claims pursuant to section 365 of the
 Bankruptcy Code, or any other matter related to such Executory Contract or Unexpired Lease; (b) the Reorganized
 Debtors amending, modifying, or supplementing, after the Effective Date, pursuant to Article V hereof, any
 Executory Contracts or Unexpired Leases to the list of Executory Contracts and Unexpired Leases to be assumed
 and assigned or rejected or otherwise; and (c) any dispute regarding whether a contract or lease is or was executory
 or expired;

          4.       ensure that distributions to Holders of Allowed Claims are accomplished pursuant to the
 provisions of the Plan;

         5.      adjudicate, decide, or resolve any motions, adversary proceedings, contested, or litigated matters,
 and any other matters, and grant or deny any applications involving a Debtor that may be pending on the Effective
 Date;

          6.       adjudicate, decide, or resolve any and all matters related to Causes of Action;

         7.      adjudicate, decide, or resolve any and all matters related to sections 1141 and 1145 of the
 Bankruptcy Code;

        8.       enter and implement such orders as may be necessary or appropriate to execute, implement, or
 consummate the provisions of the Plan and all contracts, instruments, releases, indentures, and other agreements or
 documents created in connection with the Plan or the Disclosure Statement;

         9.      enter and enforce any order for the sale of property pursuant to sections 363, 1123, or 1146(a) of
 the Bankruptcy Code;

          10.   resolve any cases, controversies, suits, disputes, or Causes of Action that may arise in connection
 with the Consummation, interpretation, or enforcement of the Plan or any Entity’s obligations incurred in connection
 with the Plan;

         11.        issue injunctions, enter and implement other orders, or take such other actions as may be necessary
 or appropriate to restrain interference by any Entity with Consummation or enforcement of the Plan;

          12.      resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the
 settlements, compromises, discharges, releases, injunctions, exculpations, and other provisions contained in Article
 X hereof and enter such orders as may be necessary or appropriate to implement or enforce such releases,
 injunctions, and other provisions;

          13.       resolve any cases, controversies, suits, disputes, or Causes of Action with respect to the repayment
 or return of distributions and the recovery of additional amounts owed by the Holder of a Claim or Interest for
 amounts not timely repaid pursuant to Article VI.J.1 hereof;

          14.     enter and implement such orders as are necessary or appropriate if the Confirmation Order is for
 any reason modified, stayed, reversed, revoked, or vacated;

         15.      determine any other matters that may arise in connection with or relate to the Plan, the
 Disclosure Statement, the Confirmation Order, or the Plan Supplement;

          16.      adjudicate any and all disputes arising from or relating to distributions under the Plan or any
 transactions contemplated therein;

          17.      consider any modifications of the Plan, to cure any defect or omission, or to reconcile any
 inconsistency in any Bankruptcy Court order, including the Confirmation Order;



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         18.     determine requests for the payment of Claims entitled to priority pursuant to section 507 of the
 Bankruptcy Code;

          19.      hear and determine matters concerning state, local, and federal taxes in accordance with
 sections 346, 505, and 1146 of the Bankruptcy Code;

           20.      hear and determine all disputes involving the existence, nature, or scope of the release provisions
 set forth in the Plan, including any dispute relating to any liability arising out of the termination of employment or
 the termination of any employee or retiree benefit program, regardless of whether such termination occurred before
 or after the Effective Date;

          21.      enforce all orders previously entered by the Bankruptcy Court in the Chapter 11 Cases;

          22.      hear any other matter not inconsistent with the Bankruptcy Code;

          23.      enter an order closing the Chapter 11 Cases; and

          24.      enforce the injunction, release, and exculpation provisions provided in Article X hereof.

                                               ARTICLE XIV.
                                         MISCELLANEOUS PROVISIONS

 A.       Immediate Binding Effect

           Subject to Article XI.A hereof and notwithstanding Bankruptcy Rules 3020(e), 6004(h), or 7062 or
 otherwise, upon the occurrence of the Effective Date, the terms of the Plan, the final versions of the documents
 contained in the Plan Supplement, and the Confirmation Order, shall be immediately effective and enforceable and
 deemed binding upon the Debtors or Reorganized Debtors, as applicable, and any and all Holders of Claims or
 Interests (regardless of whether such Claims or Interests are deemed to have accepted or rejected the Plan), all
 Entities that are parties to or are subject to the settlements, compromises, releases, and injunctions described in the
 Plan, each Entity acquiring property under the Plan or the Confirmation Order, and any and all non-Debtor parties to
 Executory Contracts and Unexpired Leases with the Debtors. All Claims and debts shall be as fixed, adjusted, or
 compromised, as applicable, pursuant to the Plan regardless of whether any Holder of a Claim or debt has voted on
 the Plan.

 B.       Additional Documents

           On or before the Effective Date, the Debtors may File with the Bankruptcy Court such agreements and
 other documents as may be necessary or advisable to effectuate and further evidence the terms and conditions of the
 Plan. The Debtors or the Reorganized Debtors, as applicable, all Holders of Claims and Interests receiving
 distributions pursuant to the Plan, and all other parties in interest shall, from time to time, prepare, execute, and
 deliver any agreements or documents and take any other actions as may be necessary or advisable to effectuate the
 provisions and intent of the Plan.

 C.       Dissolution of the Creditors’ Committee

          On the Effective Date, the Creditors’ Committee shall dissolve automatically and the members thereof shall
 be released and discharged from all rights, duties, responsibilities, and liabilities arising from, or related to, the
 Chapter 11 Cases and under the Bankruptcy Code, except for the limited purpose of prosecuting requests for
 payment of Professional Fee Claims for services and reimbursement of expenses incurred prior to the Effective Date
 by the Creditors’ Committee and its Professionals. The Reorganized Debtors shall no longer be responsible for
 paying any fees or expenses incurred by the members of or advisors to the Creditors’ Committee after the Effective
 Date.




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 D.       Reservation of Rights

          Before the Effective Date, neither the Plan, any statement or provision contained in the Plan, nor any action
 taken or not taken by any Debtor with respect to the Plan, the Disclosure Statement, the Confirmation Order, or the
 Plan Supplement shall be or shall be deemed to be an admission or waiver of any rights of any Debtor with respect
 to any Claims or Interests.

 E.       Termination of Consent Rights

          Notwithstanding anything to the contrary herein, once the DIP Claims and Term Loan Secured Claims are
 Satisfied as set forth in Article II.C and Article III.B, any consent rights of the Credit Agreement Primary Agent, the
 DIP Lenders, the Term Loan B-1 Agent, or the Term Loan Lenders contained herein shall terminate.

 F.       Successors and Assigns

            The rights, benefits, and obligations of any Entity named or referred to in the Plan or the Confirmation
 Order shall be binding on, and shall inure to, the benefit of any heir, executor, administrator, successor, assign,
 affiliate, officer, director, manager, agent, representative, attorney, beneficiaries, or guardian, if any, of each Entity.

 G.       Service of Documents

          All notices, requests, and demands to or upon the Debtors to be effective shall be in writing (including by
 facsimile transmission) and, unless otherwise expressly provided herein, shall be deemed to have been duly given or
 made when actually delivered or, in the case of notice by facsimile transmission, when received and telephonically
 confirmed, addressed as follows:

          the Debtors:       Specialty Retail Shops Holding Corp.
                             700 Pilgrim Way
                             Green Bay, Wisconsin 54304
                             Attn.: Russ Steinhorst

                             with copies to:

                             Kirkland & Ellis LLP
                             300 North LaSalle
                             Chicago, Illinois 60654
                             Attn.: Patrick J. Nash, Jr., P.C. and Travis Bayer

                             -and-

                             Kirkland & Ellis LLP
                             601 Lexington Avenue
                             New York, NY 10022
                             Attn.: Steven Serajeddini and Daniel Rudewicz

                             -and-

                             McGrath North Mullin & Kratz, PC LLO
                             First National Tower, Suite 3700
                             1601 Dodge Street
                             Omaha, Nebraska 68102
                             Attn.: James J. Niemeier

           After the Effective Date, the Reorganized Debtors shall have the authority to send a notice to parties in
 interest providing that, to continue to receive documents pursuant to Bankruptcy Rule 2002, such party must File a



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 renewed request to receive documents pursuant to Bankruptcy Rule 2002. After the Effective Date, the Reorganized
 Debtors are authorized to limit the list of Entities receiving documents pursuant to Bankruptcy Rule 2002 to those
 Entities who have Filed such renewed requests.

 H.       Entire Agreement

         Except as otherwise indicated, the Plan supersedes all previous and contemporaneous negotiations,
 promises, covenants, agreements, understandings, and representations on such subjects, all of which have become
 merged and integrated into the Plan.

 I.       Exhibits

            All exhibits and documents included in the Plan Supplement are incorporated into and are a part of the Plan
 as if set forth in full in the Plan. After the exhibits and documents are Filed, copies of such exhibits and documents
 shall be available upon written request to the Debtors’ counsel at the address above or for a fee via PACER at:
 https://www.neb.uscourts.gov.

 J.       Nonseverability of Plan Provisions

          If, before Confirmation, any term or provision of the Plan is held by the Bankruptcy Court to be invalid,
 void, or unenforceable, the Bankruptcy Court shall have the power to alter and interpret such term or provision to
 make it valid or enforceable to the maximum extent practicable, consistent with the original purpose of the term or
 provision held to be invalid, void, or unenforceable, and such term or provision shall then be applicable as altered or
 interpreted. Notwithstanding any such holding, alteration, or interpretation, the remainder of the terms and
 provisions of the Plan will remain in full force and effect and will in no way be affected, impaired, or invalidated by
 such holding, alteration, or interpretation. The Confirmation Order shall constitute a judicial determination and shall
 provide that each term and provision of the Plan, as it may have been altered or interpreted in accordance with the
 foregoing, is: (1) valid and enforceable pursuant to its terms; (2) integral to the Plan and may not be deleted or
 modified without the Debtors’ or Reorganized Debtors’ consent, as applicable; and (3) nonseverable and mutually
 dependent.

 K.       Votes Solicited in Good Faith

           Upon entry of the Confirmation Order, the Debtors will be deemed to have solicited votes on the Plan in
 good faith and in compliance with the Bankruptcy Code, and, pursuant to section 1125(e) of the Bankruptcy Code,
 the Debtors and each of their respective Affiliates, agents, representatives, members, principals, shareholders,
 officers, directors, managers, employees, advisors, and attorneys will be deemed to have participated in good faith
 and in compliance with the Bankruptcy Code in the offer, issuance, sale, and purchase of Securities offered and sold
 under the Plan and any previous plan, and, therefore, neither any of such parties or individuals nor the Reorganized
 Debtors, Reorganized Shopko, or Plan Administrator, as applicable, will have any liability for the violation of any
 applicable law (including the Securities Act), rule, or regulation governing the solicitation of votes on the Plan or the
 offer, issuance, sale, or purchase of the Securities offered and sold under the Plan and any previous plan.

 L.       Waiver or Estoppel

          Each Holder of a Claim or Interest shall be deemed to have waived any right to assert any argument,
 including the right to argue that its Claim or Interest should be Allowed in a certain amount, in a certain priority,
 Secured, or not subordinated by virtue of an agreement made with the Debtors or their counsel, or any other Entity,
 if such agreement was not disclosed in the Plan, the Disclosure Statement, or papers Filed before the Confirmation
 Date.




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       Respectfully submitted, as of the date first set forth above,

                                                   SPECIALTY RETAIL SHOPS HOLDING CORP. (on behalf
                                                   of itself and all other Debtors)

                                                   By:    /s/ Russell Steinhorst
                                                   Name: Russell Steinhorst
                                                   Title:   Chief Executive Officer




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